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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

 MEGAN SCHMITT, DEANA REILLY,            Case No. 8:17-cv-01397-JVS-JDE
 CAROL ORLOWSKY, and STEPHANIE
 MILLER BRUN, individually and on        DECLARATION OF ADAM
 behalf of themselves and all others     GONNELLI IN SUPPORT OF
 similarly situated,                     PLAINTIFFS’ UNOPPOSED
                                         MOTION FOR
               Plaintiffs,               PRELIMINARY APPROVAL
                                         OF CLASS ACTION
        v.                               SETTLEMENT,
                                         PRELIMINARY
 YOUNIQUE, LLC,                          CERTIFICATION OF
                                         SETTLEMENT CLASS, AND
               Defendant.                APPROVAL OF NOTICE
                                         PLAN
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       I, Adam Gonnelli, pursuant to 28 U.S.C. § 1746 and under penalty of perjury, hereby

declare as follows:

       1.     I am a partner at the Sultzer Law Group (“SLG”), counsel for Plaintiffs in

the above-captioned action. I am a member in good standing of the state bar of New York

and the Ninth Circuit, and have been admitted pro hac vice in this case.

       2.     I respectfully submit this declaration in support of Plaintiffs’ Unopposed

Motion for Preliminary Approval of Class Action Settlement, Preliminary Certification of

Settlement Class, and Approval of Notice Plan. Except as otherwise noted, the facts set

forth in this declaration are based in part upon my personal knowledge, and I would

competently testify to them if called upon to do so.

  I.   Introduction

       3.     Class Counsel have been responsible for the prosecution of this Action and

for the negotiation of the Settlement Agreement. We have vigorously represented the

interests of the Settlement Class Members throughout the course of the litigation and

settlement negotiations.

       4.     This Action arises out of Defendant Younique LLC’s (“Defendant”)

misleading marketing and sale of their Moodstruck 3D Fiber Lashes (the “Product”).

 II.   Investigation, Procedural History, and Negotiations

       5.     Class Counsel conducted a thorough investigation of potential claims,

ingredients, manufacturing processes, and the regulatory framework surrounding the

Product at issue. This included retaining an expert to test the ingredients of the Product.



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       6.      Class Counsel also retained an expert to conduct an analysis of the Product’s

pricing and the potential damages in the case based on estimates of the potential price

premium due to the alleged misrepresentations.

       7.      Class Counsel thoroughly analyzed the legal landscape to determine if, and

in what manner, to approach remedying Defendant’s alleged misleading marketing

practices, including consideration of the application of multiple state consumer protection

laws, recent legal precedents in cosmetics and product labeling litigation, and FDA

regulations.

       8.      Plaintiff Megan Schmitt filed this action on August 14, 2017. Plaintiffs filed

an amended complaint on October 13, 2017 adding Plaintiffs Deana Reilly, Carol

Orlowsky, and Stephanie Miller Brun and causes of action alleging violations of the laws

of Ohio, Florida, and Tennessee. On November 3, 2017, Defendant moved to dismiss the

First Amended Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6). The Court granted in part and denied in Part Defendant’s motion. Thereafter

Plaintiffs filed a Second Amended Complaint, which Defendant answered.

       9.      Thereafter, the Parties commenced with discovery, including the exchange

of documents and depositions. Defendants provided almost 6,000 documents in discovery

regarding the sales, marketing and composition of the Product and took depositions of each

of the four named Plaintiffs as well as Plaintiff’s experts.        Additionally, since the

Settlement was reached, Younique has provided confirmatory discovery regarding the

volume of sales for the Product in additional states.

       10.     Plaintiffs moved for class certification of a multistate class. Younique


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opposed the motion for class certification and moved for summary judgement, or in the

alternative, summary adjudication. On December 21, 2018, the Court granted in part and

denied in part Younique’s motion for summary judgment. On January 10, 2019 the Court

granted in part and denied in part the motion for class certification, certifying classes of

California, Florida, and Ohio consumers, but declining to certify a class of Tennessee

consumers.

       11.    The Parties made efforts to resolve the dispute at various times throughout

the litigation. On August 28, 2018, the parties participated in a mediation at Judicate West

in Santa Ana before the Honorable John Leo Wagner (Ret.). The Parties held a second

mediation with The Honorable Leo Pappas on April 23, 2019.          Discussions continued

through the mediators and between counsel, ultimately resulting in this Agreement.

       12.    After more than two years of arduous litigation and negotiations, the Parties

finally resolved all outstanding issues and the Settlement Agreement was executed by all

parties on August 12, 2019. A true and correct copy of the Settlement Agreement is

attached as Exhibit 1.

       13.    The overarching terms of the Settlement Agreement were resolved prior to

the discussion of any attorneys’ fees. The negotiations were lengthy, detailed, arm’s-

length, and covered all aspects of the settlement. The negotiations were conducted by Class

Counsel who are well versed in complex class action litigation as well as cases involving

misrepresentations concerning the term “natural” as applied to consumer products.




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III.   Settlement Agreement and Recognition of the Difficulties Associated with

       Litigation

       14.    The Settlement is an excellent result for the Settlement Class, as it provides

the comprehensive relief Plaintiffs sought in their Complaint. Specifically, the Settlement

provides that Defendant shall establish a Settlement Fund in the amount of $ 3,250,000

which will be used to pay eligible claims. The Settlement offers substantial monetary relief

to the Settlement Class. The total amount of the payment to each member of the Settlement

Class will be based on the number of Products purchased by the member of the Settlement

Class and the total amount of valid claims submitted. The Settlement Administrator will

determine each authorized Settlement Class member’s pro rata share based upon each

Settlement Class member’s Claim Form and the total number of valid claims. Also, under

no circumstances will any Residual Funds revert to Defendant.

       15.    The Settlement also provides injunctive relief. Defendant has agreed to

conduct testing of any fiber lash products for which Younique describes the ingredients

thereof as “natural” for a period of three years.

       16.    Defendant has denied, and continues to deny, any liability and maintains that

the Products’ labeling is truthful and not misleading. Indeed, Defendant has denied, and

continues to deny, any and all fault, wrongdoing, and liability for Plaintiff’s claims.

       17.    Plaintiffs are confident that their case has merit, but recognize the substantial

risk that comes along with continued litigation. Plaintiffs believe they could succeed in a

trial on the merits and subsequent appeals, and defeat the pending motion for

decertification.


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       18.    Nonetheless, all complex class actions are uncertain in terms of ultimate

outcome, difficulties of proof, and duration, and this Action is no different. There is always

the possibility that Plaintiffs may not prevail if the Action continues. Defendant has

interposed a number of pre-trial motions, including challenges to the admissibility of

Plaintiffs’ damages and liability reports. Defendant has also filed a motion to decertify the

Classes. Trial would no doubt be a hotly contested proceeding, and appeals of the results

would likely follow. Each of these stages pose risk.

       19.    Further, at trial, even if Plaintiffs ultimately succeed in proving liability,

there are risks in calculating damages on a classwide basis. Plaintiffs assert that they and

the other members of the Settlement Class paid a price premium over and above what they

otherwise would have paid for the Products based on Defendant’s representations.

Plaintiffs believe that they could demonstrate the existence of such a price premium.

However, further litigation presents no guarantee for recovery, let alone a recovery greater

than that provided by the Settlement. The Parties would likely spend significant time and

resources on this issue alone at trial.

       20.    The named Plaintiffs were heavily involved in litigating this Action,

including by reviewing the complaint and other case documents and through extensive

communications with Class Counsel regarding the status of the case. Plaintiffs Schmitt,

Reilly, and Miller-Brun each traveled to California to attend all-day depositions.

       21.    Having reviewed sales data and other information regarding the Products

provided by Defendant, there is no question that there are at least thousands of people

nationwide who purchased Defendant’s Products during the Class Period.


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       22.    Pursuant to Rule 23(e)(3), Plaintiffs hereby inform the Court that no

agreements have been made in connection with the proposed Settlement apart from those

identified in this motion.

       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



Dated: August 12, 2019
                                               THE SULTZER LAW GROUP P.C.

                                            By: /s/ Adam Gonnelli_______________
                                                 Adam Gonnelli, Esq.
                                                 85 Civic Center Plaza, Suite 200
                                                 Poughkeepsie, NY 12601
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                                                 Counsel for Plaintiffs and the Class




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               EXHIBIT 1
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                               CLASS SETTLEMENT AGREEMENT

         This Class Settlement Agreement (“Agreement”) is entered into on August __, 2019, by
 and between Megan Schmitt, Stephanie Miller-Brun, Deana Reilly, Kristen Bowers, Brenna
 Kelly-Starkebaum, Aschley Willey, Mekenzie Davis, Michelle Ellis, Jan Taylor, Nevina Saitta,
 Meagan Nelson and Casey Ratliff (collectively “Plaintiffs”), on behalf of themselves and the
 members of the Settlement Class, on the one hand, and Defendant Younique LLC (“Younique”)
 (collectively, Plaintiffs and Younique are the “Parties”). The Parties intend for this Agreement
 to fully, finally, and forever resolve, discharge, and settle all released rights and claims, subject
 to the terms and conditions set forth herein.
 I.      RECITALS
         A.      On August 14, 2017, Schmitt filed a class action complaint in the Central District
 of California styled Schmitt v. Younique LLC, No. 8:17-cv-01397, which was assigned to the
 Honorable James V. Selna. Schmitt alleged that Younique misrepresented that the fiber lash
 component of Moodstruck 3D Fiber Lashes was “100% Natural Green Tea Fibers.” Younique
 disputed, and continues to dispute, the allegation.
         B.      On October 4, 2018, Bowers filed a class action complaint in the Circuit Court of
 Jackson County in the State of Missouri styled Bowers v. Younique LLC, 1816-CV25646.
 Bowers asserted a similar factual allegation as that in Schmitt. Younique disputed, and continues
 to dispute, the allegation.
         C.      Following amendments to the Schmitt complaint and discovery, Schmitt, Miller-
 Brun, Reilly and Carol Tebay Orlowsky moved for class certification of a multistate class.
 Younique opposed the motion for class certification and moved for summary judgement, or in
 the alternative, summary adjudication. On December 21, 2018, the Court granted in part and
 denied in part Younique’s motion for summary judgment. On January 10, 2019 the Court
 granted in part and denied in part the motion for class certification.
         D.      Younique, Younique’s Counsel and representatives of Class Counsel, participated
 in private mediation on August 31, 2018 and April 23, 2019. Discussions continued through the
 mediators and between counsel, ultimately resulting in this Agreement.




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 II.    DEFINITIONS
        A.      “Action” means the lawsuit captioned Schmitt et al. v. Younique, LLC, No. 8:17-
 cv-01397, pending in the United States District Court for the Central District of California,
 Southern Division.
        B.      “Agreement” or “Class Settlement Agreement” means this Agreement and any
 exhibits attached or incorporated hereto, including any amendments the Parties may agree to in
 writing, and any exhibits to such amendments.
        C.      “Attorneys’ Fees” means any funds the Court may award to Class Counsel as
 compensation for representing Plaintiffs and the Settlement Class, for prosecuting the Action, the
 Bowers Action, any Related Action and/or this Agreement, as set forth in Section X(A).
        D.      “Bowers Action” means Bowers v. Younique LLC, 1816-CV25646, pending in
 the Circuit Court of Jackson County in the State of Missouri.
        E.      “Claim Form” means the document to be submitted by members of the
 Settlement Class seeking payment pursuant to Section V(A) of this Agreement in the form or
 substantially the same form as attached hereto as Exhibit A.
        F.       “Claim Period” means the time period during which the members of the
 Settlement Class may submit a Claim Form to the Settlement Administrator for review. Subject
 to Court approval, the Claim Period will be 90 days.
        G.      “Class Counsel” means The Sultzer Law Group, P.C., Nye Peabody Stirling Hale
 & Miller LLP, Walsh PLLC, and Carlson Lynch Sweet Kilpela & Carpenter, LLP.
        H.      “Class Notice” means the legal notice of the proposed Settlement terms as
 described in Section VI(A)(1), according to the Notice Plan set forth attached hereto Exhibit B
 and in the form of Exhibits C through F attached hereto (email notice, long form notice,
 postcard notice, and social media notice, respectively), subject to approval by the Court, to be
 provided to potential members of the Settlement Class in the methods set forth below.
        I.      “Class Period” means the period from October 1, 2012, to July 31, 2015.
        J.      “Complaint” means the operative Second Amended Complaint in the Action.
        K.      “Court” means the United States District Court for the Central District of
 California.
        L.       Effective Date” means the first date by which all of the following events have
 occurred:

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                1.      The Court has entered the Preliminary Approval Order;
                2.      The Court has entered the Final Approval Order and Judgment; and
                3.      The Final Approval Order and Judgment is final, meaning either
                        a.      final affirmance on any appeal of the Final Approval Order and
 Judgment;
                        b.      final dismissal with prejudice of the last pending appeal from the
 Final Approval Order and Judgment; or
                        c.       if no appeal is filed, the time for the filing or noticing of any form
 of appeal from the Final Approval Order and Judgment has expired.
        M.      “Expenses” means reasonable litigation expenses incurred by Class Counsel in
 representing Plaintiffs and the Settlement Class, and prosecuting the Action, the Bowers Action,
 any Related Action and/or this Agreement, including but not limited to travel, expert fees,
 transcripts, vendors, discovery costs and filing fees that the Court may award to Class Counsel
 pursuant to Section X(B). Expenses do not include costs or expenses associated with Class
 Notice or the administration of the settlement.
        N.      “Final Approval Order and Judgment” means the order in which the Court
 (i) grants final approval of this Agreement, (ii) certifies the Settlement Class, (iii) authorizes the
 Settlement Administrator to administer the settlement benefits to members of the Settlement
 Class, (iv) authorizes the creation of the Qualified Settlement Fund by the Fund Institution to
 receive payments under this Agreement; (v) awards Attorneys’ Fees and Expenses, (vi) awards
 Service Awards, (vii) rules on timely objections to this Agreement (if any), and (viii) authorizes
 the entry of a final judgment and dismissal of the Action with prejudice.
        O.      “Fund Institution” means a third-party banking institution, jointly selected by
 Class Counsel and Younique, where the cash funds Younique will pay under the terms of this
 Agreement will be deposited into a Qualified Settlement Fund account, specifically, the
 Settlement Fund.
        P.      “Notice Plan” means the plan for distributing and publication of Class Notice
 developed by the Settlement Administrator, substantially in the form of the notice plan attached
 hereto as Exhibit B.
        Q.      “Preliminary Approval Order” means the order in which the Court
 (a) preliminarily certifies the Settlement Class; (b) preliminarily approves this Agreement for

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 purposes of issuing Class Notice; (c) approves the Class Notice and Notice Plan; (d) appoints the
 Settlement Administrator; (e) appoints Class Counsel as counsel to the Settlement Class; and
 (f) makes such orders as are necessary and appropriate to effectuate the terms and conditions of
 this Agreement.
           R.   “Product” means Defendant Younique’s Moodstruck 3D Fiber Lashes sold
 between October 2012 and July 2015 sold as a standalone product and not as part of a kit and
 that was purchased for personal, family or household use and not for resale.
           S.   “Proof of Purchase” means a receipt or other documentation reasonably
 establishing the fact of purchase of the Product during the Class Period in the United States.
 Proof of Purchase may be in the form of any reasonably reliable proof customarily provided to
 the Settlement Administrator to establish proof of purchase for class membership, such as a
 receipt, email receipt or shipping confirmation from Younique, and/or picture of the Product, to
 the extent the Settlement Administrator is able to confirm the documentation is reasonably
 reliable and consistent with industry standard fraud prevention measures.
           T.   “Qualified Settlement Fund” means the type of fund, account, or trust, created
 pursuant to and meeting the requirements for a qualified settlement fund under Treasury
 Regulation Section 1.468B-1, that the Fund Institution will establish to receive payments under
 this Agreement.
           U.   “Related Action” means any action previously filed, threatened to be filed, or
 filed in the future in any state or federal court asserting claims and/or alleging facts substantially
 similar to those asserted and alleged in this Action, including but not limited to the Bowers
 Action.
           V.   “Released Claims” means any claim, cross-claim, liability, right, demand, suit,
 matter, obligation, damage, restitution, disgorgement, loss or cost, attorneys’ fee or expense,
 action, or cause of every kind and description that any Plaintiff, the Settlement Class or any
 member thereof had or have, including assigned claims, whether in arbitration, administrative, or
 judicial proceedings, whether as individual claims, claims asserted on a class basis or on behalf
 of the general public, whether known or unknown, asserted or unasserted, suspected or
 unsuspected, latent or patent, that is, has been, could reasonably have been, or in the future might
 reasonably be asserted by Plaintiffs or members of the Settlement Class either in the Action or in
 any Related Action or proceeding in any other court or forum, including but not limited to the

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 Bowers Action, regardless of legal theory or the law under which such action may be brought,
 and regardless of the type or amount of relief or damages claimed, against any of the Released
 Persons, including relating to the labeling, advertising and marketing of the Product or that
 otherwise relates in any way to Younique’s claims that the fiber component of the Product was
 100% Natural Green Tea Fibers” or “Natural Fibers.”
        W.      “Released Persons” means and includes Younique and each of its current and
 former parents, subsidiaries, affiliates and controlled companies both inside and outside the
 United States, predecessors, and successors, suppliers, distributors, presenters, customers, and
 assigns, including the present and former directors, officers, employees, presenters, shareholders,
 agents, insurers, partners, privies, representatives, attorneys, accountants, and all persons acting
 by, through, under the direction of, or in concert with them.
        X.       “Service Award” means the amounts the Megan Schmitt, Stephanie Miller-Brun,
 Deana Reilly, Kristen Bowers, Brenna Kelly-Starkebaum, Aschley Willey, Mekenzie Davis,
 Michelle Ellis, Jan Taylor, Nevina Saitta, Meagan Nelson and Casey Ratliff will receive for their
 service as plaintiffs and/or as class representatives in the Action, the Bowers Action or Related
 Actions, pursuant to Section X(C).
        Y.      “Settlement Administrator” means the company jointly selected by Class
 Counsel and Younique’s Counsel and approved by the Court to provide Class Notice and to
 administer the claims process.
        Z.      “Settlement Class” means all persons who (1) during the Class Period, resided in
 one of the following states: California, Ohio, Florida, Michigan, Minnesota, Missouri, New
 Jersey, Pennsylvania, Tennessee, Texas, and Washington; and (2) purchased one or more
 Products for personal, family or household use and not for resale. Presenters will not be
 excluded from the Class but only their purchases for personal, family or household use and not
 for resale will be subject to this Agreement as set forth in Section V. Excluded from the
 Settlement Class are: (a) Younique’s board members or executive-level officers, including its
 attorneys; (b) governmental entities; (c) the Court, the Court’s immediate family, and the Court’s
 staff; and (d) any person that timely and properly excludes himself or herself from the Settlement
 Class in accordance with Section VIII(B) of this Agreement or as approved by the Court.
        AA.     “Settlement Fund” means the money that Younique will pay or cause to be paid
 in accordance with Section IV(A) of this Agreement.

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        BB.     “Settlement Website” means the website to be created pursuant to Section
 VI(A)(1)(c) of this Agreement.
        CC.      “Younique LLC” or “Younique” means Defendant Younique LLC, a limited
 liability company with its principal place of business in Lehi, Utah, and its predecessors, parents,
 subsidiaries, shareholders, affiliates, officers, directors, partners, employees, presenters, agents,
 servants, assignees, successors, and/or other transferees or representatives.
        DD.     “Younique’s Counsel” means Sheppard Mullin Richter and Hampton, LLP, to
 the attention of Sascha Henry and Abby Meyer.
 III.   CLASS CERTIFICATION AND APPROVAL
        A.      For the purposes of this Agreement, the Parties stipulate and agree that the
 Settlement Class should be certified. Such certification is for settlement purposes only, and has
 no effect for any other purpose.
        B.      The certification of the Settlement Class shall be binding only with respect to this
 Agreement. In the event that the Effective Date does not occur for any reason, this Action shall
 revert to the status that existed as of April 23, 2019.
        C.      As part of the settlement process, Plaintiffs will move the Court for entry of the
 Preliminary Approval Order. Plaintiffs will provide drafts of the moving papers for Younique’s
 reasonable review and comment one week before filing.
        D.      Assuming that the Court enters the Preliminary Approval Order, Plaintiffs will
 later move for the Final Approval Order and Judgment, which seeks final approval of this
 Agreement, certifies the Settlement Class, authorizes the Settlement Administrator to administer
 the settlement benefits to members of the Settlement Class, authorizes the creation of the
 Qualified Settlement Fund by the Fund Institution to receive payments under this Agreement,
 awards Attorneys’ Fees and Expenses, awards Service Awards, rules on timely objections to this
 Agreement (if any), and authorizes the entry of a final judgment and dismissal of the Action with
 prejudice. Plaintiffs will provide drafts of the moving papers for Younique’s reasonable review
 and comment one week before filing.
        E.      The Parties agree that Younique may submit a motion, brief or other materials to
 the Court related to preliminary approval, notice, class certification, attorney’s fees, expenses,
 final approval, service awards, claims administration or objections. If Younique chooses to do
 so, Younique will provide Class Counsel a copy of Younique’s draft submission three (3)

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 business days in advance of filing and will agree to meet and confer with Class counsel
 concerning the submission before filing it.
 IV.    SETTLEMENT CONSIDERATION AND BENEFITS TO THE CLASS. This
 Agreement provides two components to benefit the Settlement Class: (a) a Settlement Fund from
 which member of the Settlement Class who submit timely, valid, and approved claims will
 obtain refunds as set forth in Section A below; and (b) an agreement by Younique of three years’
 duration to conduct testing of fiber lash products for which Younique describes the ingredients
 thereof as “natural,” as set forth in Section B below.
        A.      Settlement Fund. Younique shall establish a Settlement Fund with a value of
 Three Million, Two Hundred and Fifty Thousand Dollars ($3,250,000.00) and shall make all
 cash payments due under this Agreement by paying this amount into a Qualified Settlement Fund
 at the Fund Institution, such fund to be established and administered by the Fund Institution as to
 meet the requirements applicable to a qualified settlement fund pursuant to Treasury Regulations
 Section 1.463B, subject to the following limitations and conditions.
                1.      Order of Payments from the Settlement Fund. The Settlement Fund
 shall be applied to pay in full and in the following order: (i) any necessary taxes and tax
 expenses, if any; (ii) all costs and expenses associated with Class Notice, including but not
 limited to all fees and expenses of the Settlement Administrator; (iii) all costs and expenses
 associated with the administration of the Settlement, including but not limited to all fees and
 expenses of the Settlement Administrator; (iv) any Attorneys’ Fees award made by the Court to
 Class Counsel pursuant to Section X(A) of this Agreement; (v) any award of Expenses made by
 the Court to Class Counsel pursuant to Section X(B) of this Agreement; (vi) any Service Awards
 made by the Court to Plaintiffs under Section X(C) of this Agreement; (vii) cash payments
 distributed to Settlement Class members who have submitted timely, valid, and approved claims
 pursuant to the claims process outlined in Section V; and (viii) the Residual Funds, if any,
 pursuant to Section V(L) of this Agreement. Payments under (i), (ii) and (iii) above shall be
 subject to written approval by Class Counsel and Younique’s Counsel. Payments under (iv),
 (v), (vi), (vii) and (vii) shall be subject to approval by the Court in a Final Approval Order and
 Judgment and after the Effective Date.




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                2.      Younique’s Funding of the Settlement Fund.
                        a.      Within ten (10) bank days after the Preliminary Approval Order is
 entered, Younique shall transfer $200,000.00 into the Settlement Fund which shall be used to
 pay costs and expenses of the Settlement Administrator, including to effectuate Class Notice
 pursuant to the Notice Plan. This deadline may be extended by mutual consent of the Parties.
 The cost of any re-notice and supplemental administration shall be paid by Younique up to
 $50,000.00, separate from the Settlement Fund.
                        b.      Within ten (10) bank days after the Effective Date, Younique shall
 fund $3,050,000.00 into the Settlement Fund which shall be used pursuant to Section IV(A)(1)
 above. This deadline may be extended by mutual consent of the Parties.
                3.      Younique’s Maximum Liability Under this Agreement. In no
 circumstances shall Younique’s total contribution to or liability for the Settlement Fund exceed
 Three Million, Two Hundred and Fifty Thousand Dollars ($3,250,000.00). Under this
 Agreement, the Parties agree that the Settlement Fund encompasses the full extent of Younique’s
 monetary payment due under this Agreement. These payments, pursuant to the terms and
 conditions of this Agreement, will be in full satisfaction of all individual and class claims
 asserted in or that could have been asserted in this Action, the Bowers Action and any Related
 Action.
                4.      No Tax Liability or Representation. Younique and the Released
 Persons are not obligated (and will not be obligated) to compute, estimate, or pay any taxes on
 behalf of Plaintiffs, Class Counsel, any member of Settlement Class, or the Settlement
 Administrator. Younique and the Released Persons have not made any (and make no
 representation) to the Plaintiffs, Class Counsel, any member of the Settlement Class, or the
 Settlement Administrator regarding the tax consequences of payments made under this
 Agreement.
                5.      Return of Settlement Fund. In the event the Effective Date does not
 occur, all amounts paid into the Settlement Fund, less amounts incurred for claims administration
 and notice, shall be promptly returned to Younique, and this Action shall revert to the status that
 existed as of April 23, 2019, except as otherwise ordered by the Court.
           B.   Injunctive Relief: Testing of Ingredients of Future Products



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                 1.      Commencing with the date of the last signature of this Agreement and
 until August 1, 2022, if Younique elects to describe an ingredient in its current or future fiber
 lash products as “natural”, Younique will have the product tested by a reputable U.S.-based
 laboratory every six months to confirm the ingredients identified as “natural” are as described.
 Such testing shall be undertaken to confirm that the ingredients are natural and not “synthetic” as
 that term is defined in the Organic Foods Production Act of 1990, at 7 U.S.C. § 6502 (21). To
 avoid any doubt, the Parties agree this provision applies only to the description of ingredients
 and does not apply to Younique using the phrases “natural beauty”, “natural look” or words to
 that effect, in its marketing, advertising or labeling.
                 2.      Nothing in this Agreement shall prohibit or limit Younique’s right or
 ability to use or permit others to use, in accordance with all applicable laws and regulations, its
 licenses, logos, taglines, product descriptors, or registered trademarks.
                 3.      Nothing in this Agreement shall preclude Younique from making claims
 in accordance with applicable FDA, FTC and EPA regulations.
 V.      ELIGIBILITY AND PROCESS FOR CLASS MEMBERS TO OBTAIN A CASH
 PAYMENT. To be eligible for a cash payment, a member of the Settlement Class must submit
 a timely and valid Claim Form, which will be evaluated by the Settlement Administrator.
         A.      Claim Form Availability. The Claim Form shall be substantially similar to the
 claim form attached as Exhibit A. The Claim Form will be: (i) included on the Settlement
 Website; and (ii) made readily available from the Settlement Administrator, including by
 requesting a Claim Form from the Settlement Administrator by mail, email, or calling a toll-free
 number provided by the Settlement Administrator.
         B.      Timely Claim Forms. To be considered “timely”, members of the Settlement
 Class must submit a Claim Form postmarked or submitted online before or on the last day of the
 Claim Period, the specific date of which will be prominently displayed on the Claim Form and
 Class Notice and determined by the Court. For a non-online Claim Form, the Claim Form will
 be deemed to have been submitted on the date of the postmark on the envelope or mailer. For an
 online Claim Form, the Claim Form will be deemed to have been submitted on the date it is
 received by the Settlement Administrator.
         C.      Valid Claim Forms. To be considered “valid”, the Claim Form must contain the
 Settlement Class member’s name and mailing address, attestation of purchase(s) of Products as

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 described in Section V(D) showing the number of Products purchased during the Class Period.
 Subject to Section V(H) herein, Claim Forms that do not meet the requirements set forth in this
 Agreement and in the Claim Form instructions may be rejected. The Settlement Administrator
 will determine a Claim Form’s validity.
        Where a good faith basis exists, the Settlement Administrator may reject a Claim Form
 for, among other reasons: (i) failure to attest to the purchase of the Products for personal, family
 or household use; (ii) attesting to purchase of products that are not covered by the terms of this
 Agreement; (iii) attesting to purchase of Products or products not during the Class Period;
 (iv) failure to provide adequate verification or additional information about the Claim pursuant to
 a request of the Settlement Administrator; (v) failure to fully complete and/or sign the Claim
 Form; (vi) failure to submit a legible Claim Form; (vii) submission of a fraudulent Claim Form;
 (viii) submission of a Claim Form that is duplicative of another Claim Form; (ix) submission of
 a Claim Form by a person who is not a member of the Settlement Class; (x) request by person
 submitting the Claim Form to pay funds to a person or entity that is not the member of the
 Settlement Class for whom the Claim Form is submitted; (xi) failure to submit a Claim Form by
 the end of the Claim Period; or (xii) failure to otherwise meet the requirements of this
 Agreement.
        D.      Attestation of Purchase. Members of the Settlement Class must submit a Claim
 Form that states to the best of his or her knowledge the total number of Products that he or she
 purchased, and the approximate date(s) of his or her purchases. The Claim Form shall be signed
 under an attestation stating the following or substantially similar language: “I declare that the
 information in this Claim Form is true and correct to the best of my knowledge, and that I
 purchased the Product(s) claimed above during the Class Period for my personal, family or
 household use and not for resale. I understand that my Claim Form may be subject to audit,
 verification, and Court review.”
        E.      Proof of Purchase. Members of the Settlement Class may submit Proof of
 Purchase instead of stating the number and dates of purchase, but must still submit an attestation.
        F.      Verification of Purchase May Be Required. The Claim Form shall advise
 members of the Settlement Class that while Proof of Purchase is not required to submit a claim,
 the Settlement Administrator has the right to request verification or more information regarding
 the purchase of the Products for the purpose of preventing fraud. Younique shall cooperate fully

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 with the Settlement Administrator if the Settlement Administrator requests such verification. If
 Younique is unable to produce such verification and the member of the Settlement Class does
 not timely comply or is unable to produce documents or additional information to substantiate
 the information on the Claim Form and the claim is otherwise not approved, the Settlement
 Administrator may disqualify the claim, subject to the reconsideration procedure outlined in
 Section V(H) below. The Parties agree that the Settlement Administrator shall seek verification
 of Claim Forms attesting to more than 33 purchases.
        G.      Claim Form Submission and Review. Members of the Settlement Class may
 submit a Claim Form either by mail or electronically. The Settlement Administrator shall review
 and process the Claim Forms pursuant to the process described in this Agreement to determine
 each Claim Form’s timeliness and validity. Adequate and customary procedures and standards
 will be used by the Settlement Administrator to prevent the payment of fraudulent claims and to
 pay only legitimate claims. The Parties shall take all reasonable steps, and direct the Settlement
 Administrator to take all reasonable steps, to ensure that Claim Forms completed and signed
 electronically by members of the Settlement Class conform to the requirements of the federal
 Electronic Signatures Act, 15 U.S.C. § 7001, et seq.
        H.      Claim Form Deficiencies. In the event the Settlement Administrator rejects a
 Claim Form pursuant to section V(C) above, the Settlement Administrator shall mail notice of
 rejection to Settlement Class members whose Claims have been rejected in whole or in part.
 Failure to provide all information requested on the Claim Form will not result in immediate
 denial or nonpayment of a claim. Instead, the Settlement Administrator will take all
 reasonable and customary steps to attempt to cure the defect and to determine the eligibility of
 the member of the Settlement Class for payment and the amount of payment based on the
 information contained in the Claim Form or otherwise submitted, including advising the
 Settlement Class members that if they disagree with the determination, the Settlement Class
 member may send a letter to the Settlement Administrator requesting reconsideration of the
 rejection and the Settlement Administrator shall reconsider such determination, which
 reconsideration shall include consultation with Class Counsel and Younique’s Counsel. In such
 event, Settlement Class members shall be advised of their right to speak with Class Counsel, and
 Younique is entitled to dispute claims if available records or other information indicate that the
 information on the Claim Form is inaccurate or incomplete. The Parties shall meet and confer

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 regarding resolution of such claims and, if unable to agree, shall submit those claims to the Court
 for determination. As to any claims being determined by the Court pursuant to this paragraph,
 the Settlement Administrator shall send payment or a letter explaining the Court’s rejection of
 the claim, within thirty-five (35) days of the Court’s determination.
        I.      Failure to Submit Claim Form. Unless a member of the Settlement Class opts
 out pursuant to Section VIII(B), any member of the Settlement Class who fails to submit a timely
 and valid Claim Form shall be forever barred from receiving any payment pursuant to this
 Agreement, and shall in all other respects be bound by all of the terms of this Agreement and the
 terms of the Order and Final Judgment to be entered in the Action. Based on the release
 contained in this Agreement, any member of the Settlement Class who does not opt out will be
 barred from bringing any action in any forum (state or federal) against any of the Released
 Persons concerning any of the matters subject to the release.
        J.      Cash Recovery for Members of the Settlement Class. The relief to be provided
 to each member of the Settlement Class who submits a timely and valid Claim Form pursuant to
 the terms and conditions of this Agreement shall be a payment in the form of a cash refund. The
 total amount of the payment to each member of the Settlement Class will be based on the number
 of Products purchased by the member of the Settlement Class and the total amount of valid
 claims submitted. Cash refunds will be paid by the Settlement Administrator via check, pursuant
 to Section V(K). The Settlement Administrator shall determine each authorized Settlement Class
 member’s pro rata share based upon each Settlement Class member’s Claim Form and the total
 number of valid claims. Accordingly, the actual amount recovered by each Settlement Class
 member who submits a timely and valid claim will not be determined until after the Claim Period
 has ended and the number of Products purchased by the member of the Settlement Class and the
 total amount of valid claims submitted is determined.
        K.      Distribution to Authorized Settlement Class Members
                1.      The Settlement Administrator shall begin paying timely, valid, and
 approved claims via first-class mail no later than thirty (30) days after the Effective Date.
                2.      The Settlement Administrator shall have completed the payment to
 Settlement Class members who have submitted timely, valid, and approved claims pursuant to
 the claim process no later than forty-five (45) days after the Effective Date.



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        L.      Residual Funds in the Settlement Fund. If, after the payment of the items set
 forth in Section IV(A)(1)(i)-(vi) and the expiration of checks mailed to members of the
 Settlement Class, value remains in the Settlement Fund, it shall be called the Residual Fund.
 Any value remaining in the Residual Fund shall increase eligible Settlement Class members’
 relief on a pro rata basis until the Residual Fund is exhausted, unless the Parties mutually agree
 that a supplemental distribution is economically unfeasible. Should the Parties mutually agree
 that a supplement distribution is economically unfeasible, then the parties will meet and confer in
 good faith to reach an agreement on a cy pres recipient approved by the Court. If the Parties are
 unable to reach an agreement on a cy pres recipient, then Younique, on the one hand, and
 Plaintiffs, on the other hand, may submit alternative proposals for the cy pres recipient to the
 Court and the Court will select the recipient. There shall be no reverter to Younique.
 VI.    NOTICE TO CLASS AND ADMINISTRATION OF PROPOSED SETTLEMENT
        A.      Duties and Responsibilities of the Settlement Administrator. Class Counsel
 and Younique recommend and retain Heffler Claims Group to be the Settlement Administrator
 for this Agreement. The Settlement Administrator shall abide by and shall administer the
 settlement in accordance with the terms, conditions, and obligations of this Agreement and the
 Orders issued by the Court in this Action.
                1.      Class Notice Duties. The Settlement Administrator shall be responsible
 for disseminating the Class Notice, substantially in the form as described in the Notice Plan, and,
 as specified in the Preliminary Approval Order. The Class Notice will comply with all
 applicable laws, including, but not limited to, the Due Process Clause of the Constitution. Class
 Notice duties include, but are not limited to the following:
                        a.      Class Notice, Notice Plan and Claim Form. The Settlement
 Administrator shall consult on, draft, and design the Class Notice, Notice Plan and Claim Form.
 To the extent that the Settlement Administrator believes there should be changes to the Class
 Notice, Notice Plan and/or Claim Form, Class Counsel and Younique’s Counsel shall have input
 and joint approval rights, which shall not be unreasonably withheld, over the Class Notice,
 Notice Plan and Claim Form and any changes thereto.
                        b.      Implement Class Notice. The Settlement Administrator shall
 implement and arrange for the Class Notice in accordance with the Notice Plan, as approved by
 the Court in the Preliminary Approval Order.

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                        c.      Establish Settlement Website. The Settlement Administrator
 shall establishing a website, www. FiberLashesSettlement.com that contains the Complaint, this
 Agreement, the long form of the Class Notice (Exhibit D hereto), a Claim Form capable of being
 completed and submitted online or printed, the documents to be filed supporting a motion for
 preliminary approval of this settlement, the documents to be filed supporting an application for
 an award of Attorneys’ Fees, Expenses and Service Awards, and the documents to be filed
 supporting a motion for Final Approval Order and Judgment. The Settlement Website shall be
 activated according to the Notice Plan, and shall remain active until 90 calendar days after the
 Effective Date.
                        d.      Respond to Request from Potential Settlement Class Members.
 The Settlement Administrator shall send the Class Notice and/or a Claim Form, via electronic
 mail or U.S. mail, to any potential member of the Settlement Class who so requests.
                        e.      Respond to Counsel Requests. The Settlement Administrator
 shall respond requests from Class Counsel and Younique’s Counsel.
                        f.      CAFA Notice. The Settlement Administrator shall send the notice
 as set forth in Section VII.
                2.      Claim Processing Duties. The Settlement Administrator shall be
 responsible for Claim processing and related administrative activities, including communications
 with members of the Settlement Class concerning this Agreement, the claim process, and the
 options they have. Claim processing duties include, but are not limited to:
                        a.      executing any mailings required under the terms of this
 Agreement;
                        b.      establishing a toll-free voice response unit to which members of
 the Settlement Class may refer for information about the Action and the Settlement;
                        c.      establishing a post office box for the receipt of Claim Forms,
 exclusion requests, and any correspondence;
                        d.      receiving and maintaining on behalf of the Court all
 correspondence from any member of the Settlement Class regarding the Settlement, and
 forwarding inquiries from members of the Settlement Class to Class Counsel or their designee
 for a response, if warranted; and



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                        e.      receiving and maintaining on behalf of the Court any
 correspondence with members of the Settlement Class regarding any objections, opt-out
 requests, exclusion forms, or other requests to exclude himself or herself from the Settlement,
 and providing to Class Counsel and Younique’s Counsel a copy within three (3) calendar days of
 receipt. If the Settlement Administrator receives any such forms or requests after the deadline
 for the submission of such forms and requests, the Settlement Administrator shall promptly
 provide Class Counsel and Younique’s Counsel with copies.
                3.      Claim Review Duties. The Settlement Administrator shall be responsible
 for reviewing and approving Claim Forms in accordance with this Agreement. Claim review
 duties include, but are not limited to:
                        a.      reviewing each Claim Form submitted to determine whether each
 Claim Form meets the requirements set forth in this Agreement and whether it should be
 allowed, including determining whether a Claim Form submitted by any member of the
 Settlement Class is timely, complete, and valid;
                        b.      working with members of the Settlement Class who submit timely
 claims to try to cure any Claim Form deficiencies;
                        c.      using all reasonable efforts and means to identify and reject
 duplicate and/or fraudulent claims, including, without limitation, maintaining a database of all
 Claim Form submissions;
                        d.      keeping an accurate and updated accounting via a database of the
 number of Claim Forms received, the amount claimed on each Claim Form, the name and
 address of the members of the Settlement Class who made the claim, whether the claim has any
 deficiencies, and whether the claim has been approved as timely and valid; and
                        e.      otherwise implementing and assisting with the claim review
 process and payment of the Claims, pursuant to the terms and conditions of this Agreement.
                4.      Periodic Update Duties. The Settlement Administrator shall provide
 periodic updates to Class Counsel and Younique’s Counsel regarding Claim Form submissions
 beginning within five (5) calendar days after the commencement of the dissemination of the
 Class Notice and continuing on a weekly basis thereafter and shall provide such an update at
 least ten (10) business days before the Final Approval hearing. The Settlement Administrator



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 shall also provide such updates to Class Counsel or Younique’s Counsel upon request, within a
 reasonable amount of time.
                5.      Claim Payment Duties. The Settlement Administrator shall be
 responsible for sending payments to all eligible members of the Settlement Class with valid,
 timely, and approved claims pursuant to the terms and conditions of this Agreement. Claim
 payment duties include, but are not limited to:
                        a.       Within seven (7) days of the Effective Date, provide a report to
 Class Counsel and Younique’s Counsel calculating the amount and number of valid and timely
 claims;
                        b.       Pursuant to Sections V(J), (K) and (L), once the Settlement Fund
 has been funded, sending checks to members of the Settlement Class who submitted timely,
 valid, and approved Claim Forms;
                        c.       Once payments to the Settlement Class have commenced, pursuant
 to the terms and conditions of this Agreement, the Settlement Administrator shall provide a
 regular accounting to Class Counsel and Younique’s Counsel that includes but is not limited to
 the number and the amount of claims paid.
                        d.       Once distributed checks have expired, an accounting of Residual
 Funds described in Section V(L) and subsequent distribution of the Residual Funds as directed
 by the Parties and the Court.
                6.      Reporting to Court Duties. Not later than ten (10) calendar days before
 the date of the hearing on the Final Approval, the Settlement Administrator shall file a
 declaration or affidavit with the Court that: (i) includes a list of those persons who have opted
 out or excluded themselves from the Settlement; and (ii) describes the scope, methods, and
 results of the Notice Plan.
                7.      Duty of Confidentiality. The Settlement Administrator shall treat any
 and all documents, communications, and other information and materials received in connection
 with the administration of the Settlement as confidential and shall not use or disclose any or all
 such documents, communications, or other information to any person or entity, except to the
 Parties or as provided for in this Agreement or by Court Order.




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        B.      Right to Inspect. Class Counsel and Younique’s Counsel shall have the right to
 inspect the Claim Forms and supporting documentation received by the Settlement Administrator
 at any time upon reasonable notice.
        C.      Failure to Perform. If the Settlement Administrator misappropriates any funds
 from the Settlement Fund or makes a material or fraudulent misrepresentation to, or conceals
 requested material information from, Class Counsel, Younique, or Younique’s Counsel, then the
 Party who discovers the misappropriation or concealment or to whom the misrepresentation is
 made shall, in addition to any other appropriate relief, have the right to demand that the
 Settlement Administrator immediately be replaced. If the Settlement Administrator fails to
 perform adequately on behalf of the Parties, the Parties may agree to remove the Settlement
 Administrator. Neither Party shall unreasonably withhold consent to remove the Settlement
 Administrator. The Parties will attempt to resolve any disputes regarding the retention or
 dismissal of the Settlement Administrator in good faith. If unable to so resolve a dispute, the
 Parties will refer the matter to the Court for resolution.
        D.      Handling of Inquiries. The Parties and Class Counsel acknowledge that
 Younique may receive inquiries relating to the Action, the Bowers Action, Related Actions or
 this Agreement. The Parties and Class Counsel agree that Younique may provide the script
 attached hereto as Exhibit G to its customer service representatives to respond to such inquiries,
 each response concludes by referring to the inquiry to the Settlement Website.
 VII.   CLASS ACTION FAIRNESS ACT NOTICE DUTIES TO STATE AND FEDERAL
 OFFICIALS. No later than ten (10) court days after this Agreement is filed with the Court,
 Younique shall mail or cause the items specified in 28 U.S.C. § 1715(b) to be mailed to each
 State and Federal official, as specified in 28 U.S.C. § 1715(a).
 VIII. OBJECTIONS AND REQUESTS FOR EXCLUSION. A member of the Settlement
 Class may object to this Agreement or request exclusion from this Agreement. Any member of
 the Settlement Class who does not request exclusion from the Settlement has the right to object
 to the Settlement. Members of the Settlement Class may not both object to and opt out of the
 Settlement. Any member of the Settlement Class who wishes to object must timely submit an
 objection as set forth in Section VIII(A) below. If a member of a Settlement Class submits both
 an objection and a written request for exclusion, he or she shall be deemed to have complied with
 the terms of the procedure for requesting exclusion as set forth in Section VIII(B) and shall not

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 be bound by the Agreement if approved by the Court, and the objection will not be considered by
 the Court.
        A.      Objections. Members of the Settlement Class shall have the right to object to this
 Agreement and to appear and show cause, if they have any reason why the terms of this
 Agreement should not be given Final Approval as follows:
                1.      A member of the Settlement Class may object to this Agreement either on
 his or her own without an attorney, or through an attorney hired at his or her own expense.
                2.      Any objection to this Agreement must be in writing, signed by the
 objecting member of the Settlement Class (and his or her attorney, if individually represented,
 including any former or current counsel who may be entitled to compensation for any reason
 related to the objection), filed with the Court, with a copy delivered to the Settlement
 Administrator, Class Counsel and Younique’s Counsel at the addresses set forth in the long
 formClass Notice (Exhibit D), no later than thirty (30) days before the hearing on Final
 Approval.
                3.      Any objection regarding or related to this Agreement shall contain a
 caption or title that identifies it as “Objection to Class Settlement in Schmitt v. Younique LLC,
 No. 8:17-cv-01397 (C.D.Cal.).”
                4.      Any objection regarding or related to this Agreement shall contain
 information sufficient to identify and contact the objecting member of the Settlement Class (or
 his or her individually-hired attorney, if any), as well as a specific, clear and concise statement of
 his or her objection, the facts supporting the objection, the legal grounds and authority on which
 the objection is based, and whether he or she intends to appear at the Final Approval Hearing,
 either with or without counsel.
                5.      Any objection shall include documents sufficient to establish the basis for
 the objector’s standing as a member of the Settlement Class, such as (i) a declaration signed by
 the objector under penalty of perjury, including a statement that the member of the Settlement
 Class purchased at least one of the Products during the Class Period; or (ii) receipt(s) reflecting
 such purchase(s).
                6.      Any objection shall also include a detailed list of any other objections
 submitted by the Settlement Class member, or his or her counsel, to any class action submitted in
 any court, whether state or otherwise, in the United States in the previous five (5) years. If the

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 Settlement Class member or his or her counsel has not objected to any other class action
 settlement in any court in the United States in the previous five (5) years, he or she shall
 affirmatively state so in the written materials provided in connection with the objection to this
 Agreement.
                7.       Class Counsel and/or Younique shall have the right, but not the obligation,
 to respond to any objection no later than seven (7) days prior to the hearing on the motion for
 Final Approval Order and Judgment. The Party so responding shall file a copy of the response
 with the Court, and shall serve a copy, by regular mail, hand or overnight delivery, to the
 objecting member of the Settlement Class or to the individually-hired attorney for the objecting
 member of the Settlement Class; to Class Counsel; and to Younique’s Counsel.
                8.       If an objecting member of the Settlement Class chooses to appear at the
 hearing, no later than fifteen (15) days before the hearing on the motion for Final Approval
 Order and Judgment, a Notice of Intention to Appear, either In Person or Through an Attorney,
 must be filed with the Court, listing the name, address and telephone number of the attorney, if
 any, who will appear.
                9.       Any Settlement Class Member who fails to file and serve timely a written
 objection and notice of his/her intent to appear at the hearing on the motion for Final Approval
 Order and Judgment pursuant to this Section shall not be permitted to object to the Settlement
 and shall be foreclosed from seeking any review of the Settlement or the terms of the Agreement
 by any means, including but not limited to an appeal.
        B.      Requests for Exclusion. Members of the Settlement Class shall have the right to
 elect to exclude themselves, or “opt out,” of the monetary portion of this Agreement,
 relinquishing their rights to cash compensation under this Agreement and preserving their claims
 for damages that accrued during the Class Period, pursuant to this paragraph:
                1.       A member of the Settlement Class wishing to opt out of this Agreement
 must send to the Settlement Administrator by U.S. Mail a personally signed letter including his
 or her name and address, and providing a clear statement communicating that he or she elects to
 be excluded from the Settlement Class. A member of the Settlement Class cannot opt out on
 behalf of anyone other than himself or herself.
                2.       Any request for exclusion or opt out must be postmarked on or before the
 opt-out deadline date specified in the Preliminary Approval Order, which shall be no later than

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 thirty (30) calendar days before the hearing on the motion for Final Approval Order and
 Judgment. The date of the postmark on the return-mailing envelope shall be the exclusive means
 used to determine whether a request for exclusion has been timely submitted.
                3.      The Settlement Administrator shall forward copies of any written requests
 for exclusion to Class Counsel and Younique’s Counsel, and shall file a list reflecting all
 requests for exclusion with the Court no later than ten (10) calendar days before the hearing on
 the motion for Final Approval Order and Judgment.
                4.      The request for exclusion must be personally signed by the member of the
 Settlement Class.
        C.      Failure to Request Exclusion. Any member of the Settlement Class who does
 not file a timely written request for exclusion as provided in the preceding Section VIII(B) shall
 be bound by all subsequent proceedings, orders, and judgments, including, but not limited to, the
 Release in this Action, even if he or she has litigation pending or subsequently initiates litigation
 against Younique relating to the claims and transactions released in this Action.
 IX.    RELEASES
        A.      Release by Plaintiffs and Settlement Class. Upon the Effective Date of this
 Agreement, Plaintiffs and each member of the Settlement Class, and each of their successors,
 assigns, heirs, and personal representatives, shall be deemed to have, and by operation of the
 Final Approval Order and Judgment shall have, fully, finally, and forever released, relinquished,
 and discharged all Released Claims against the Released Persons. The Released Claims shall be
 construed as broadly as possible to effect complete finality over this litigation involving the
 advertising, labeling, and marketing of the Products as set forth herein.
        B.      Waiver of Unknown Claims by Plaintiffs and Settlement Class. In addition,
 with respect to the subject matter of this Action, by operation of entry of the Final Approval
 Order and Judgment, Plaintiffs and each member of the Settlement Class, and each of their
 respective successors, assigns, legatees, heirs, and personal representatives, expressly waive any
 and all rights or benefits they may now have, or in the future may have, under any law relating to
 the releases of unknown claims, including, without limitation, Section 1542 of the California
 Civil Code, which provides:
                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                THAT THE CREDITOR OR RELEASING PARTY DOES

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                  NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
                  FAVOR AT THE TIME OF EXECUTING THE RELEASE
                  AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
                  MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                  WITH THE DEBTOR OR RELEASED PARTY.
           In addition to the foregoing, by operation of entry of the Final Approval Order and
 Judgment, Plaintiffs and each member of the Settlement Class shall be deemed to have waived
 any and all provisions, rights, and benefits conferred by any law of any state or territory of the
 United States or any foreign country, and any and all principles of common law that are similar,
 comparable, or equivalent in substance or intent to Section 1542 of the California Civil Code.
           C.     Assumption of Risk. Plaintiffs understand that the facts upon which this
 Agreement is executed may hereafter be other than or different from the facts now believed by
 Plaintiffs and Class Counsel to be true and nevertheless agree that this Agreement and the
 Release shall remain effective notwithstanding any such difference in facts.
           D.     Bar to Other Litigation. To the extent permitted by law, this Agreement may be
 pleaded as a full and complete defense to, and may be used as the basis for an injunction against,
 any action, suit, or other proceeding that may be instituted, prosecuted, or attempted in breach of
 or contrary to this Agreement, including but not limited to any Related Action, or any other
 action or claim that arises out of the same factual predicate or same set of operative facts as this
 Action.
           E.     General Release By Megan Schmitt, Stephanie Miller-Brun, Deana Reilly,
 Kristen Bowers, Brenna Kelly-Starkebaum and Aschley Willey, Mekenzie Davis, Michelle
 Ellis, Jan Taylor, Nevina Saitta, Meagan Nelson and Casey Ratliff. In addition to Sections
 IX(A) through (D) above, and for the mutual avoidance of further costs, inconvenience, and
 uncertainties relating to this Lawsuit, Megan Schmitt, Stephanie Miller-Brun, Deana Reilly,
 Kristen Bowers, Brenna Kelly-Starkebaum, Aschley Willey, Mekenzie Davis, Michelle Ellis, Jan
 Taylor, Nevina Saitta, Meagan Nelson and Casey Ratliff, and their predecessors, successors,
 heirs, assigns, related persons and other representatives, hereby release and forever discharge the
 Released Persons from any and all claims (including liabilities, actions, causes of action,
 obligations, costs, attorneys’ fees, damages, losses and demands of every character, nature, kind
 and source, whether legal, equitable or otherwise, including but not limited to those arising out of

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 theories of contract, employment, or libel/slander) which are or could be asserted by them. For
 clarity, this is intended to be a “general release.”
         F.      Release By Younique in Favor of Megan Schmitt, Stephanie Miller-Brun,
 Deana Reilly, Kristen Bowers, Brenna Kelly-Starkebaum and Aschley Willey, Mekenzie
 Davis, Michelle Ellis, Jan Taylor, Nevina Saitta, Meagan Nelson and Casey Ratliff. For the
 mutual avoidance of further costs, inconvenience, and uncertainties relating to this Lawsuit,
 Younique hereby releases and forever discharges Megan Schmitt, Stephanie Miller-Brun, Deana
 Reilly, Kristen Bowers, Brenna Kelly-Starkebaum, Aschley Willey, Mekenzie Davis, Michelle
 Ellis, Jan Taylor, Nevina Saitta, Meagan Nelson and Casey Ratliff from any and all claims
 (including liabilities, actions, causes of action, obligations, costs, attorneys’ fees, damages, losses
 and demands of every character, nature, kind and source, whether legal, equitable or otherwise,
 including but not limited to those arising out of theories of contract, employment, or
 libel/slander) which are or could have been asserted by it in the Action, the Bowers Action or any
 Related Action, or are based on the Action, the Bowers Action or any Related Action or the facts
 alleged therein.
         G.      Dismissal of Bowers Action. No later than (5) court days of the Effective Date,
 Bowers shall dismiss the Bowers Action. Younique and Bowers shall cooperate to effectuate a
 stay of the Bowers Action or take other reasonable steps to minimize attorneys’ fees and
 expenditures in the Bowers Action between now and the Effective Date.
 X.      ATTORNEYS’ FEES AND EXPENSES AND CLASS REPRESENTATIVE
 SERVICE AWARDS
         A.      Attorneys’ Fees Application. Class Counsel intends to make, and Younique
 agrees not to oppose, an application for an award of Attorneys’ Fees in the Action that will not
 exceed an amount equal to one third (33.33%) of the Settlement Fund of $3,250,000.00. This
 amount shall be paid from the Settlement Fund and shall be the sole aggregate compensation
 paid by Younique to Class Counsel for representing Plaintiffs and the Settlement Class, for
 prosecuting the Action, the Bowers Action and any Related Action and relating to this
 Agreement. The ultimate award of Attorneys’ Fees will be determined by the Court.
         B.      Expense Application. Class Counsel intends to make, and Younique agrees not
 to oppose, an application for reimbursement of Expenses in the Action that will not exceed
 $175,000.00. This amount shall be paid from the Settlement Fund and shall be the sole

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 reimbursement of Expenses paid by Younique for Class Counsel representing Plaintiffs and the
 Settlement Class, for prosecuting the Action, the Bowers Action and any Related Action and
 relating to this Agreement. The ultimate award of Expenses will be determined by the Court.
        C.      Service Award Application. Class Counsel intends to make, and Younique
 agrees not to oppose, an application for Service Awards to the Megan Schmitt, Stephanie Miller-
 Brun and Deana Reilly that will not exceed $45,000 ($15,000 each). Class Counsel also intends
 to make, and Younique agrees not to oppose, an application for a Service Award to Kristen
 Bowers, Brenna Kelly-Starkebaum, Aschley Willey, Mekenzie Davis, Michelle Ellis, Jan Taylor,
 Nevina Saitta, Meagan Nelson and Casey Ratliff that will not exceed $22,500. The Service
 Awards, if granted, shall be paid from the Settlement Fund and shall be the only Service Awards
 paid by Younique. The ultimate amount of the Service Awards will be determined by the Court.
        D.      Class Counsel, in their sole discretion, shall allocate and distribute the Court’s
 award of Attorneys’ Fees and Expenses. Class Counsel shall indemnify Younique and its
 attorneys against any disputes among Class Counsel, including Dollar, Burns & Becker, L.C.,
 Pastor Law Office, LLP, other lawyers, consultants, contractors, or service providers working at
 the direction of, or in conjunction with, Class Counsel, relating to the allocation and distribution
 of Class Counsel’s Attorneys’ Fees and Expenses.
        E.      Younique will not appeal from any order with respect to the award of Attorneys’
 Fees, Expenses and Service Awards provided that the order does not award Attorneys’ Fees,
 Expenses and Service Awards in excess of the amounts stated in Sections X(A) through (C).
        F.      Within ten (10) days after the Effective Date, the Settlement Administrator shall
 cause the Attorneys’ Fees and Expenses awarded by the Court to be paid to Class Counsel as
 directed by Class Counsel. In the event the Effective Date does not occur, all amounts paid to
 Class Counsel as Attorneys’ Fees and Expenses awarded by the Court shall be promptly returned
 to Younique.
        G.      Within ten (10) days after the Effective Date, the Settlement Fund shall pay
 Service Awards, if approved by the Court, to each of the Plaintiffs
 XI.    NO ADMISSION OF LIABILITY. Younique has denied and continues to deny that
 the labeling, advertising, or marketing of the Product was false, deceptive, or misleading to
 consumers or violates any legal requirement, including but not limited to the allegations that
 Younique engaged in unfair, unlawful, fraudulent, or deceptive trade practices, breached any

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 implied or express warranty, was unjustly enriched or engaged in negligent misrepresentation,
 or violated the Magnusson Moss Warranty Act or any other statute, regulation, or common law
 or industry standard. Younique denies that any purchaser of the Product paid any price premium
 or was otherwise damaged in any regard by the Product’s labeling, advertising or marketing. By
 entering into this Agreement, Younique is not consenting to or agreeing to certification of the
 Settlement Class for any purpose other than to effectuate the settlement of the Action. Younique
 is entering into this Agreement solely because it will eliminate the uncertainty, distraction,
 burden, and expense of further litigation. The provisions contained in this Agreement and the
 manner or amount of relief provided to members of the Settlement Class herein shall not be
 deemed a presumption, concession, or admission by Younique of any fault, liability, or
 wrongdoing as to any facts or claims that have been or might be alleged or asserted in the
 Action, the Bowers Action, any Related Action or in any other action or proceeding that has
 been, will be, or could be brought, and shall not be interpreted, construed, deemed, invoked,
 offered, or received into evidence or otherwise used by any person in any action or proceeding,
 whether civil, criminal, or administrative, for any purpose other than as provided expressly
 herein.
 XII.      DISAPPROVAL, TERMINATION AND NULLIFICATION OF THIS
 AGREEMENT.
           A.   Younique, on the one hand, and the Plaintiffs, on the other other hand, shall each
 have the right to terminate this Agreement if (1) the Court denies preliminary approval or final
 approval of this Agreement, or (2) the Final Approval Order and Judgment does not become final
 by reason of a higher court reversing the Final Approval Order and Judgment, and the Court
 thereafter declines to enter a further order approving settlement on the terms in this Agreement.
 If Younique elects to terminate this Agreement under this section, Younique shall provide
 written notice via overnight mail and email to Class Counsel within 21 days of the occurrence of
 the condition permitting termination. If Plaintiffs elect to terminate this Agreement under this
 section, Class Counsel shall provide written notice via overnight mail and email to Younique’s
 Counsel, attention Sascha Henry and Abby Meyer, within 21 days of the occurrence of the
 condition permitting termination.
           B.   Younique shall have the right, but not the obligation, to terminate this Agreement
 if, prior to the entry of the Final Approval Order and Judgment, if .1% or more members of the

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 Settlement Class for whom the Parties have class contact information submit timely and valid
 requests for exclusion. If Younique elects to terminate this Agreement under this section,
 Younique shall provide written notice via overnight mail and email to Class Counsel on or
 before the entry of the Final Approval Order and Judgment.
        C.      Class Counsel shall have the right, but not the obligation, to terminate this
 Agreement if, prior to the entry of the Final Approval Order and Judgment, the award from the
 Settlement Fund to each Class Member is calculated to be less than two dollars ($2.00).
        D.       If this Agreement is terminated pursuant to this section XII, then: (1) this
 Agreement shall have no further force and effect and shall not be used in the Action or in any
 other proceeding or for any purpose, including for purposes of attempting to prove Younique’s
 alleged liability, (2) the Parties will jointly make an application requesting that any judgment or
 orders entered by the Court in accordance with the terms of this Agreement shall be treated as
 vacated, nunc pro tunc, (3) this Action shall revert to the status that existed as of April 23, 2019,
 except that the Parties shall not seek to recover from each other any costs incurred in connection
 with this Agreement. If this Agreement is terminated by Class Counsel pursuant to Section
 XII(C), then Class Counsel shall refund to Younique the $200,000.00 paid into the Settlement
 Fund pursuant to Section IV(A)(2)(a).
 XIII. ADDITIONAL PROVISIONS
        A.      Plaintiffs and Class Counsel warrant and represent to Younique that they have no
 present intention of initiating any other claims or proceedings against Younique or any of
 Younique’s affiliates, or any entity that manufactures, distributes, or sells the Product, including
 presenters of Younique products. Plaintiffs and Class Counsel warrant and represent that they
 are not aware of any factual or legal basis for any claims or proceedings against Younique other
 than those described herein. Class Counsel warrant and represent that they do not presently have
 any clients with claims or proceedings, existing or suspected, against Younique other than
 Plaintiffs, and Plaintiffs’ claims are being released and settled by this Agreement.
        B.      The Parties agree that information and documents exchanged in negotiating this
 Agreement were done so pursuant to Federal Rule of Evidence 408, and no such confidential
 information exchanged or produced by either side may be used for or revealed for any other
 purpose than this Agreement. This does not apply to publicly available information or
 documents.

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          C.    The Parties agree to return or dispose of confidential documents and information
 exchanged in negotiating this Agreement within thirty (30) days of the Effective Date. Class
 Counsel and Plaintiffs acknowledge their obligations under the existing Stipulated Protective
 Order in this Action.
          D.    The Parties agree that the terms of the Agreement were negotiated at arm’s length
 and in good faith by the Parties and reflect a settlement that was reached voluntarily after
 consultation with experienced legal counsel.
          E.    The Parties and their respective counsel agree to use their best efforts and to
 cooperate fully with one another (i) in seeking preliminary and final Court approval of this
 settlement; and (ii) in effectuating the full consummation of the settlement provided for herein.
          F.    Each counsel or other person executing this Agreement on behalf of any Party
 hereto warrants that such person has the authority to do so.
          G.    This Agreement may be executed in any number of counterparts, each of which
 shall be deemed to be an original but all of which together shall constitute one and the same
 instrument. Executed counterparts shall be deemed valid if delivered by mail, courier,
 electronically, or by facsimile.
          H.    This Agreement shall be binding upon and inure to the benefit of the settling
 Parties (including all members of the Settlement Class), their respective agents, attorneys,
 insurers, employees, representatives, officers, directors, partners, divisions, subsidiaries,
 affiliates, associates, assigns, heirs, successors in interest, and shareholders, and any trustee or
 other officer appointed in the event of a bankruptcy, as well as to all Released Persons as defined
 in Section II(W). The waiver by any Party of a breach of this Agreement by any other Party
 shall not be deemed a waiver of any other breach of this Agreement.
          I.    This Agreement and any exhibits attached to it constitute the entire agreement
 between the Parties hereto and supersede any prior agreements or understandings, whether oral,
 written, express, or implied between the Parties with respect to the settlement.
          J.    No amendment, change, or modification of this Agreement or any part thereof
 shall be valid unless in writing, signed by all Parties and their counsel, and approved by the
 Court.
          K.    The Parties to this Agreement each represent to the other that they have received
 independent legal advice from attorneys of their own choosing with respect to the advisability of

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 making the settlement provided for in this Agreement, and with respect to the advisability of
 executing this Agreement, that they have read this Agreement in its entirety and fully understand
 its contents, and that each is executing this Agreement as a free and voluntary act.
         L.      Except as otherwise provided herein, all notices, requests, demands, and other
 communications required or permitted to be given pursuant to this Agreement shall be in writing
 and shall be delivered personally, by facsimile, by e-mail, or by overnight mail, as follows:
         If to Counsel for Plaintiffs or Class Counsel:
                 Adam Gonnelli
                 Sultzer Law Group
                 85 Civic Center Plaza
                 Suite 200,
                 Poughkeepsie, NY 12601
                 Gonnellia@thesultzerlawgroup.com
                 Phone: (845) 483-7100; Fax: (888) 749-7747


         If to Younique’s Counsel:
                 Sascha Henry
                 Sheppard Mullin Richter & Hampton LLP
                 333 S. Hope St., 43rd Fl.
                 Los Angeles, CA 90071
                 shenry@sheppardmullin.com
                 Phone: (213) 617-5562; Fax (213) 620-1398
         M.      The titles and captions contained in this Agreement are inserted only as a matter
 of convenience and for reference, and shall in no way be construed to define, limit, or extend the
 scope of this Agreement or the intent of any of its provisions. This Agreement shall be construed
 without regard to its drafter, and shall be construed as though the Parties participated equally in
 the drafting of it.
         N.      Plaintiffs submit to the jurisdiction of this Court for purposes of the
 implementation and enforcement of the terms of this Agreement. The Parties agree that the
 Released Persons may seek to enforce the releases herein against any person or entity by



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 injunctive relief. The Court shall retain jurisdiction over the Action for purposes of
 implementing and enforcing this Agreement.
        O.      Plaintiffs and Class Counsel agree that no press release or comment to the press
 shall be made concerning the Action, the Bowers Action, any Related Actions or this Agreement
 except as may be required as part of the Notice Plan and approved by the Court. Plaintiffs and
 Class Counsel also agree that they will not reference or discuss Younique, the Action, the
 Bowers Action, any Related Actions or this Agreement as part of any advertising or marketing
 materials including on their own or any third party website or social media and will remove and
 direct any of their agents or consultants of the same and to cease any public mention or website
 or social media publication about Younique, the Action, the Bowers Action, any Related Actions
 or this Agreement. Notwithstanding the foregoing, Class Counsel may describe this Agreement
 in briefs filed with courts as part of an application or motion to be appointed as lead class
 counsel or for class certification and may state on their websites “$3.25 Million Settlement for
 class of purchasers of consumer product labeled as containing natural ingredient.”
        IN WITNESS WHEREOF, Younique LLC, and Plaintiffs Megan Schmitt, Stephanie
 Miller-Brun, Deana Reilly, on behalf of themselves and the Settlement Class, intending to be
 legally bound hereby, have duly executed this Agreement as of the date set forth below, along
 with their counsel.



        Dated: ______________________                  By: ______________________
                                                       Megan Schmitt

        Dated: ______________________                  By: ______________________
                                                       Stephanie Miller-Brun

        Dated: ______________________                  By: ______________________
                                                       Deana Reilly

        Dated: ______________________                  By: ______________________
                                                       Kirsten Bowers

        Dated: ______________________                  By: ______________________
                                                       Brenna Kelly-Starkebaum

        Dated: ______________________                  By: ______________________
                                                       Aschley Willey

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 injunctive relief. The Court shall retain jurisdiction over the Action for purposes of
 implementing and enforcing this Agreement.
        O.      Plaintiffs and Class Counsel agree that no press release or comment to the press
 shall be made concerning the Action, the Bowers Action, any Related Actions or this Agreement
 except as may be required as part of the Notice Plan and approved by the Court. Plaintiffs and
 Class Counsel also agree that they will not reference or discuss Younique, the Action, the
 Bowers Action, any Related Actions or this Agreement as part of any advertising or marketing
 materials including on their own or any third party website or social media and will remove and
 direct any of their agents or consultants of the same and to cease any public mention or website
 or social media publication about Younique, the Action, the Bowers Action, any Related Actions
 or this Agreement. Notwithstanding the foregoing, Class Counsel may describe this Agreement
 in briefs filed with courts as part of an application or motion to be appointed as lead class
 counsel or for class certification and may state on their websites “$3.25 Million Settlement for
 class of purchasers of consumer product labeled as containing natural ingredient.”
        IN WITNESS WHEREOF, Younique LLC, and Plaintiffs Megan Schmitt, Stephanie
 Miller-Brun, Deana Reilly, on behalf of themselves and the Settlement Class, intending to be
 legally bound hereby, have duly executed this Agreement as of the date set forth below, along
 with their counsel.



        Dated: ______________________                  By: ______________________
                                                       Megan Schmitt

               08/11/2019
        Dated: ______________________                  By: ______________________
                                                       Stephanie Miller-Brun

        Dated: ______________________                  By: ______________________
                                                       Deana Reilly

        Dated: ______________________                  By: ______________________
                                                       Kirsten Bowers

        Dated: ______________________                  By: ______________________
                                                       Brenna Kelly-Starkebaum

        Dated: ______________________                  By: ______________________
                                                       Aschley Willey

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 injunctive relief. The Court shall retain jurisdiction over the Action for purposes of
 implementing and enforcing this Agreement.
        O.      Plaintiffs and Class Counsel agree that no press release or comment to the press
 shall be made concerning the Action, the Bowers Action, any Related Actions or this Agreement
 except as may be required as part of the Notice Plan and approved by the Court. Plaintiffs and
 Class Counsel also agree that they will not reference or discuss Younique, the Action, the
 Bowers Action, any Related Actions or this Agreement as part of any advertising or marketing
 materials including on their own or any third party website or social media and will remove and
 direct any of their agents or consultants of the same and to cease any public mention or website
 or social media publication about Younique, the Action, the Bowers Action, any Related Actions
 or this Agreement. Notwithstanding the foregoing, Class Counsel may describe this Agreement
 in briefs filed with courts as part of an application or motion to be appointed as lead class
 counsel or for class certification and may state on their websites “$3.25 Million Settlement for
 class of purchasers of consumer product labeled as containing natural ingredient.”
        IN WITNESS WHEREOF, Younique LLC, and Plaintiffs Megan Schmitt, Stephanie
 Miller-Brun, Deana Reilly, on behalf of themselves and the Settlement Class, intending to be
 legally bound hereby, have duly executed this Agreement as of the date set forth below, along
 with their counsel.



        Dated: ______________________                  By: ______________________
                                                       Megan Schmitt

        Dated: ______________________                  By: ______________________
                                                       Stephanie Miller-Brun

        Dated: ______________________                  By: ______________________
                                                       Deana Reilly

        Dated: ______________________                  By: ______________________
                                                       Kirsten Bowers
                 August 8, 2019
        Dated: ______________________                  By: ______________________
                                                       Brenna Kelly-Starkebaum

        Dated: ______________________                  By: ______________________
                                                       Aschley Willey

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       Dated: ______________________         By: ______________________
                                             Mekenzie Davis

       Dated: ______________________         By: ______________________
                                             Michelle Ellis

       Dated: ______________________         By: ______________________
                                             Jan Taylor

       Dated: ______________________         By: ______________________
                                             Nevina Saitta

       Dated: ______________________         By: ______________________
                                             Meagan Nelson

       Dated: ______________________         By: ______________________
                                             Casey Ratliff

                                             YOUNIQUE LLC

       Dated: ______________________         By: ______________________



                                             THE SULTZER LAW GROUP

       Dated: ______________________         By: ______________________
                                             Jason P. Sultzer
                                             Attorneys for Plaintiffs

       Dated: _______________________        DOLLAR, BURNS & BECKER, L.C.
                                             By: ____________________
                                             Thomas Hershewe
                                             Attorneys for Kirsten Bowers

                                             WALSH PLLC

       Dated: ______________________         By: ______________________
                                             Bonner Walsh
                                             Class Counsel




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       Dated: ______________________         By: ______________________
                                             Mekenzie Davis

       Dated: ______________________         By: ______________________
                                             Michelle Ellis

       Dated: ______________________         By: ______________________
                                             Jan Taylor

       Dated: ______________________         By: ______________________
                                             Nevina Saitta

       Dated: ______________________         By: ______________________
                                             Meagan Nelson

       Dated: ______________________         By: ______________________
                                             Casey Ratliff

                                             YOUNIQUE LLC

       Dated: ______________________         By: ______________________



                                             THE SULTZER LAW GROUP

       Dated: ______________________         By: ______________________
                                             Jason P. Sultzer
                                             Attorneys for Plaintiffs

       Dated: _______________________        DOLLAR, BURNS & BECKER, L.C.
                                             By: ____________________
                                             Thomas Hershewe
                                             Attorneys for Kirsten Bowers

                                             WALSH PLLC

       Dated: ______________________         By: ______________________
                                             Bonner Walsh
                                             Class Counsel




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       Dated: ______________________         By: ______________________
                                             Mekenzie Davis

       Dated: ______________________         By: ______________________
                                             Michelle Ellis

       Dated: ______________________         By: ______________________
                                             Jan Taylor

       Dated: ______________________         By: ______________________
                                             Nevina Saitta

       Dated: ______________________         By: ______________________
                                             Meagan Nelson

       Dated: ______________________         By: ______________________
                                             Casey Ratliff

                                             YOUNIQUE LLC

       Dated: ______________________         By: ______________________



                                             THE SULTZER LAW GROUP

       Dated: ______________________         By: ______________________
                                             Jason P. Sultzer
                                             Attorneys for Plaintiffs

       Dated: _______________________        DOLLAR, BURNS & BECKER, L.C.
                                             By: ____________________
                                             Thomas Hershewe
                                             Attorneys for Kirsten Bowers

                                             WALSH PLLC

       Dated: ______________________
              August 12, 2019                By: ______________________
                                             Bonner Walsh
                                             Class Counsel




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                                 EXHIBIT A




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                                     SCHMITT v. YOUNIQUE LLC CLAIM FORM
                                                    GENERAL INSTRUCTIONS

To make a claim under the Settlement, you must complete this form and submit it online or mail it to the address at the bottom of this
form. Your Claim Form must be submitted online or postmarked by 11:59 p.m. Pacific Time on XX/XX/XXXX.

You can submit a Claim for a benefit under this Settlement if you purchased the original Moodstruck 3D Fiber Lashes between October
2012 and July 2015 sold as a standalone product and not as part of a kit for personal, family or household use and not for resale and resided
in one of the following states: California, Ohio, Florida, Michigan, Minnesota, Missouri, New Jersey, Pennsylvania, Tennessee, Texas,
and Washington. You may, but are not required to, submit proof of purchase of the product when you submit your claim.

Settlement Class Members who seek payment from the Settlement must complete and return this Claim Form. Completed Claim
Forms must be mailed to the Settlement Administrator at Heffler Claims Group, P.O. Box ###, Philadelphia, PA 19102-#### or can be
submitted via the Settlement Website, www.FiberLashesSettlement.com. Claim Forms must be POSTMARKED or SUBMITTED
ONLINE NO LATER THAN ___________, 2019 at 11:59 p.m., Pacific Time.

Before you complete and submit this Claim Form by mail or online, you should read and be familiar with the Long Form Notice available
at www. FiberLashesSettlement.com. Defined terms (with initial capitals) used in these General Instructions have the same meaning as
set forth in the Settlement Agreement, as amended by any Supplemental Agreement. By submitting this Claim Form, you acknowledge
that you have read and understand the Long Form Notice, and you agree to the Release(s) included as a material term of the Settlement
Agreement.
If you fail to timely submit a Claim Form, you may be precluded from any recovery from the Settlement fund. If you are a member of the
Settlement Class and you do not timely and validly seek to Opt-Out from the Settlement Class, you will be bound by any judgment entered
by the Court approving the Settlement regardless of whether you submit a Claim Form. To receive the most current information and
regular updates, please submit your Claim Form on the Settlement Website at www. FiberLashesSettlement .com.




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                                       SCHMITT v. YOUNIQUE LLC CLAIM FORM

                      YOU MUST SUBMIT YOUR CLAIM FORM NO LATER THAN XX, XX, XXXX
CLAIM INFORMATION (Please type or print the following information):

__________________________________________________ ____ ___________________________________________________________________________
First Name                                                MI    Last Name


____________________________________________________________________ ______________________________________________________
Mailing Address                                                                     Address2


_______________________________________________________________________         ____ ____      ____ ____ ____ ____ ____ - ____ ____ ____ ____
City                                                                             State               Zipcode             Zip4 (optional)


Daytime Telephone (___ ____ ____) ____ ____ ____ - ____ ____ ____ ____ Evening Telephone (____ ____ ____) ____ ____ ____ - ____ ____ ____ ____


Email Address: ____________________________________________________@_____________________________.__________________

** If you move or your name changes, please send your new contact information to the Claims Administrator via the
settlement website or First-Class U.S. Mail, at the address listed below.
CLAIM OF COVERED PRODUCTS PURCHASED
I purchased _______ (number) original Moodstruck 3D Fiber Lashes between October 2012 and July 2015 sold as a
standalone product and not as part of a kit for personal, family or household use and not for resale. The approximate
dates of my purchases were: ______________________________________________________________________________________.

AFFIRMATION:
I declare that the information in this Claim Form is true and correct to the best of my knowledge, and that I purchased
the Product(s) claimed above during the Class Period for my personal, family or household use and not for resale. I
understand that my Claim Form may be subject to audit, verification, and Court review.

______________________________________ _________________________________________                       ___ ___ / ___ ___ / ___ ___ ___ ___
Signature                                       Type/Print Name                                        Date (MM/DD/YYYY)


Upon completion, please mail this form to: c/o Claims Administrator; P.O. Box XX; Philadelphia, PA 19105-0170. Or,
submit the form electronically at www.XXXXXXXX.com. You may, but are not required to, submit proof of purchase of
the product when you submit your claim.

Failure to provide all the requested information may result in the denial of your Claim and you will receive no cash
payment from this Settlement. The Settlement Administrator may request verification or more information regarding
your purchase of the Products. Pursuant to the terms of the Settlement Agreement, the Settlement Administrator’s
determination is final and cannot be appealed by anyone.

  CLAIM PROCESSING TAKES A SIGNIFICANT AMOUNT OF TIME. THANK YOU FOR YOUR PATIENCE.
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                                  EXHIBIT B




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                              UNITED STATES DISTRICT COURT

             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION



 Megan Schmitt, an individual, on behalf of
 herself and all others similarly situated;                  Case No. 8:17-cv-01397

                Plaintiff,                                   DECLARATION OF SCOTT
                                                             FENWICK OF HEFFLER CLAIMS
 vs.                                                         GROUP IN SUPPORT OF
                                                             PLAINTIFFS’ PROPOSED CLASS
 Younique LLC                                                NOTICE PLAN
                Defendants.




 I, Scott Fenwick, hereby declare:
        1.      I am employed as the Chief of Operations at Heffler Claims Group (“Heffler”), a
 company that handles the administration of class action settlements, class action notices, claims
 administration, and other significant services related to class action and mass tort actions.
        2.      Heffler Claims Group has extensive experience in class action matters, having
 provided services in class action settlements involving antitrust, securities, employment and labor,
 consumer and government enforcement matters. Heffler has provided class action services in over
 1,000 settlements varying in size and complexity over the past 50 years. During the past 50 years,
 Heffler distributed hundreds of millions of notices and billions of dollars in settlement funds and
 judgment proceeds to class members and claimants.
        3.      Heffler is prepared to provide a full complement of notification services for the
 settlement, including email notice, mailed notice and a targeted publication notice.
        4.      Heffler assumes it will be provided the Class Data List that will contain a
 combination of names, email addresses and/or mailing addresses for Class Members.

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        5.      Email Notice: In preparation for the email notices, Heffler will work with the
 Parties to finalize the language for the Notice. Once the notice is approved, Heffler will set up the
 email notice template in preparation for the email campaign. In addition, Heffler will prepare a
 file that will contain records for which an email address is provided in the Class List. Once the
 email template is set up Heffler will prepare and send test emails for the Parties to review. Email
 proofs will be sent via email to the Parties and to representatives from Heffler to review. Upon
 approval of the proofs by Heffler and the Parties, Heffler will set the approved email notices to
 begin sending to Class Members on the notice start date.
        6.      As part of the email campaign process, our email service notifies each of the major
 ISPs that Heffler is about to begin a large email campaign. This greatly reduces the risk that the
 ISPs will incorrectly identify Heffler-originated emails as junk mail and intercept them or
 otherwise divert them from recipients’ inboxes. Heffler and our email service will also review the
 proposed email subject line and body content for potential spam filter triggering words and phrases
 and will provide recommendations for any trouble spots. When the email campaign begins, Heffler
 will track and monitor emails that are bounced. If required as part of the email campaign, Heffler
 will attempt to re-send hard and/or soft bounced emails in an effort to deliver as many emails as
 possible. At the conclusion of the email campaign, Heffler will be able to provide the email
 delivery status of each record. Heffler will report to the parties the number of records that had a
 successful notice delivery, a count for the records that delivery failed, and a count of Class
 Members that unsubscribed to future emails. Heffler will also update its administration database
 with the appropriate status of the email campaign.
        7.      If the email notice was delivered successfully, no further action will be taken with
 respect to the Class Member record.
        8.      Mailed Notice: If the email was not delivered (bounced) Heffler will take the
 following steps to initiate a mailed notice to the Class Member: 1) If there is a physical street
 address in the Class List provided to Heffler, Heffler will mail a notice to the address provided;



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 and 2) if there is no street address in the Class List provided, Heffler will take no further action
 related to the Class Member record.
        9.      Mailed Notices will be sent to all physical addresses noted in Section 8 above. The
 approved notice language will be provided to the print/mail vendor. Heffler will also provide a
 mail file to the print/mail vendor. Heffler will use the current addresses on the Class List, or an
 address obtained from the submittal of records through the United States Postal Service National
 Change of Address database. The print/mail vendor will prepare notice proofs for the Parties and
 Heffler to review and approve. The approved notices will be mailed to Class Members as directed
 in the Court documents.
        10.     Mailed notices returned as undeliverable-as-addressed by the United States Postal
 Service will be sent through a skip trace process in an effort to obtain an updated address for the
 record. If an updated address is obtained through the trace process, Heffler will re-mail the notice
 to the updated address.
        11.     Targeted Media Program: While the direct outreach of the program is anticipated
 by the parties to reach the overwhelming majority of class settlement members, there is an
 unknown number of class members who may have purchased the Product from a presenter with
 cash and did not provide an address to Younique.The parties have gone the extra step to reach
 additional class members by employing supplemental online and social media publication. Heffler
 will implement a targeted notice program consisting of internet and mobile banners via Google
 and social media outlets Facebook, Instagram, and Twitter. Banner notifications will be published
 for a period of 30 days and be specifically targeted to reach Younique customers who did not
 receive the emailed notice.
        12.     On Google, we will match class member records with users to create a custom
 audience of known class members. Ads will be served to class members as they use Google search
 and as display ads at the top of their Gmail inboxes. On Facebook and Instagram, we will match
 class member records to serve ads to class members on their newsfeeds. Additionally, ads will be
 served to users who like Younique pages or post about Younique as well as users who purchase

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 cosmetics online. On Twitter, we will match class member records to target a custom audience of
 known class members in addition to targeting followers of Younique or people who post about
 Younique.
        13.    Additionally, Heffler will run a 1/8-page ad in the San Jose Mercury News on four
 (4) days to meet the CLRA requirement.


        I certify the foregoing statements are true and correct under penalty of perjury under the
 laws of the United States of America. Executed <<date>> in <<City, State>>


                                                     ____________________________________
                                                     Scott M. Fenwick




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                                 EXHIBIT C




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 EMAIL NOTICE


 From:______________
 To:____________
 Subject Line: Notice of Settlement of Fiber Lashes Class Action
 Para revisar una versión en español de este aviso, visite
 www.FiberLashesSettlement.com.


 Notice of Proposed Class Action Settlement
 A settlement has been reached in a class action lawsuit in which plaintiffs have
 alleged that the fiber component of Younique’s original Moodstruck 3D Fiber
 Lashes (sold between October 2012 and July 2015) was not accurately labeled as
 being made of “100% Natural Green Tea Fibers.” Younique disagrees with the
 allegations and says the label was accurate and denies any wrongdoing, but has
 agreed to the Settlement to avoid the expense and uncertainties associated with
 continuing the case. The Court has not decided which side is right.




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 Why Am I Receiving This Notice?
 Younique’s records indicate that you purchased one or more original Moodstruck
 3D Fiber Lashes between October 2012 and July 2015 and lived in California,
 Ohio, Florida, Michigan, Minnesota, Missouri, New Jersey, Pennsylvania,
 Tennessee, Texas, or Washington when you made your purchase. We are including
 your Class Member ID [_______]; (Please retain your Class Member ID for your
 records; you will need this ID to file a claim).


 What Can I Get From The Settlement?
 If approved by the Court, Younique will establish a Settlement Fund to pay all
 valid claims submitted by Settlement Class members, together with notice and
 administration expenses, attorneys’ fees and expenses, and service awards for the
 Class Representatives. If you are an eligible class member, you may submit a
 claim to receive a monetary payment from the Settlement Fund. After subtracting
 from the Settlement Fund the notice and administration expenses, attorneys’ fees
 and expenses, service awards, and taxes and tax expense (if any), the Settlement
 Administrator will determine each authorized Settlement Class Member’s pro rata
 share based upon the number of Products purchased by each class member and the
 total amount of valid claims submitted.


 How Do I Get A Payment?
 The only way to get a payment is to file a claim. You must submit a timely and
 properly completed Claim Form no later than ___________. You may submit a
 Claim Form online at www.FiberLashesSettlement.com or download a Claim
 Form from the website and submit it to the Settlement Administrator at the address
 below by mail postmarked by __________. You may also request a paper copy of
 the Claim Form by writing to the Settlement Administrator at the address below,
 emailing the Settlement Administrator at_______, or by calling toll-free
 ___________.


 If you wish to submit a Claim Form, your Class Member ID is [__________].


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 What are My Other Options?
 You may exclude yourself from the Settlement by sending a letter to the Settlement
 Administrator postmarked by no later than ________. If you exclude yourself, you
 cannot get a Settlement payment, but you keep any rights you may have to sue the
 Defendant over the legal issues in this lawsuit.


 You may object or comment on the proposed Settlement. Your objection or
 comment must be filed no later than __________. Specific instructions about how
 to object to, comment upon, or exclude yourself from, the Settlement are available
 at www.FiberLashesSettlement.com.


 If you file a Claim Form or do nothing, and the Court approves the Settlement, you
 will be bound by all of the Court’s orders and judgments. In addition, any claim
 you may have relating to the allegations in this case against Younique will be
 released.


 Who Represents Me?
 The Court has appointed lawyers from the law firms The Sultzer Law Group P.C.,
 Walsh PLLC, Nye Peabody Stirling Hale & Miller, LLP, and Carlson Lynch Sweet
 Kilpela & Carpenter, LLP to represent you as “Class Counsel.” Plaintiffs Megan
 Schmitt, Deana Reilly and Stephanie Miller Brun, have been appointed by the
 Court as the “Class Representatives” of the Settlement Class. You can hire your
 own lawyer, but if you do, you’ll need to pay your own legal fees.


 When Will the Court Consider the Proposed Settlement?
 The Court will hold the Fairness Hearing at [date time and location]. At that
 hearing, the Court will: hear any objections or comments concerning the fairness of
 the Settlement; determine the fairness of the Settlement; decide whether to approve
 Class Counsel’s request for attorneys’ fees of $1,083,225.00 and expenses of up to
 $175,000.00; and decide whether to award the service awards totaling $67,500.00
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 from the Settlement Fund for their services in helping to bring and settle this case.
 The Defendant has agreed to pay Class Counsel attorneys’ fees in an amount to be
 determined by the Court. Class Counsel will seek no more than one-third of the
 Settlement Fund; the Court may award less than this amount. You and/or your
 lawyer also have the right to attend the Hearing at your own expense, but you do
 not have to.
 How Do I Get More Information?
 For more information, including the full Notice, Claim Form, and a copy of the
 Settlement Agreement and other court documents, go to
 www.FiberLashesSettlement.com, call the Settlement Administrator at ______ or
 write to Schmitt v Younique LLC Settlement, c/o Settlement Administrator, PO
 Box #####, Philadelphia, PA #####-####, or call Class Counsel at ________. Para
 revisar una versión en español de este aviso, visite
 www.FiberLashesSettlement.com




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                                  EXHIBIT D




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           UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

      If you purchased Younique’s original Moodstruck 3D Fiber Lashes
Between October 2012 and July 2015 while residing in California, Ohio, Florida,
Michigan, Minnesota, Missouri, New Jersey, Pennsylvania, Tennessee, Texas, or
                                 Washington
You May be Eligible to Receive a Cash Payment from a Class Action Settlement.
                  A Federal Court authorized this notice. This is not a solicitation from a lawyer.

A proposed Settlement has been reached in a class action lawsuit involving Younique’s original Moodstruck 3D Fiber Lashes
   • The Settlement resolves litigation alleging Younique’s original Moodstruck 3D Fiber Lashes (sold between October
       2012 and July 2015) was not accurately labeled as being made of “100% Natural Green Tea Fibers.” The Defendant
       disagrees with the allegations and says the label was accurate and denies any wrongdoing, but has agreed to the
       Settlement to avoid the expense and uncertainties associated with continuing the case.

    •   You may be eligible to participate in the proposed Settlement, if it is finally approved, if you purchased Younique’s
        original Moodstruck 3D Fiber Lashes between October 2012 and July 2015 while residing in California, Ohio, Florida,
        Michigan, Minnesota, Missouri, New Jersey, Pennsylvania, Tennessee, Texas, or Washington

    •   The Settlement will provide cash payments to those who qualify. You must file a Claim Form to get a payment from
        the Settlement.

    •   Your legal rights are affected whether you act, or don’t act. Read this notice carefully.

                         YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

        SUBMIT A CLAIM FORM
                                       This is the only way to get a payment.
           BY XXXXX 2019

                                       Get no payment from the Settlement. This is the only option that allows you to
         EXCLUDE YOURSELF
                                       ever be a part of any other lawsuit against the Defendant about the legal claims in
          BY XXXXX 2019
                                       this case.

              OBJECT BY                Write to the Court about why you think the settlement is unfair, inadequate, or
             XXXXX 2019                unreasonable.

                                       Get no payment. Give up rights to ever sue the Defendant about the legal claims in
             DO NOTHING
                                       this case.

• These rights and options—and the deadlines to exercise them—are explained in this notice. The deadlines may be moved,
  canceled, or otherwise modified, so please check the Settlement Website www.FiberLashesSettlement.com regularly for
  updates and further details.

• The Court in charge of this case still has to decide whether to approve the Settlement. Payments will be made if the Court
  approves the Settlement and after any appeals are resolved. Please be patient.




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                                         WHAT THIS NOTICE CONTAINS:
BASIC INFORMATION
1.  Why is there a notice?
2.  What is this lawsuit about?
3.  Why is this a class action?
4.  Why is there a Settlement?

WHO IS IN THE SETTLEMENT?
5. How do I know if I am in the Settlement?
6. Which Products are included in the Settlement?
7. What if I am still not sure if I am included in the Settlement?

SETTLEMENT BENEFITS
8.  What does the Settlement provide?
9.  What can I get from the Settlement?
10. What am I giving up to stay in the Class?

HOW TO GET A PAYMENT
11. How can I get a payment?
12. When will I get my payment?

EXCLUDING YOURSELF FROM THE SETTLEMENT
13. How do I get out of the Settlement?
14. If I don’t exclude myself, can I sue the Defendant for the same thing later?
15. If I exclude myself, can I still get a payment?

OBJECTING TO THE SETTLEMENT
16. How can I tell the Court if I do not like the Settlement?
17. What is the difference between objecting and excluding?

THE LAWYERS REPRESENTING YOU
18. Do I have a lawyer in this case?
19. How will the lawyers be paid?

THE COURT’S FAIRNESS HEARING
20. When and where will the Court decide whether to approve the Settlement?
21. Do I have to come to the hearing?
22. May I speak at the hearing?

IF YOU DO NOTHING
23. What happens if I do nothing at all?

GETTING MORE INFORMATION
24. How do I get more information?


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                                                 BASIC INFORMATION
1.   Why is there a notice?
     You have a right to know about a proposed Settlement of a class action lawsuit, and about your options, before the Court
     decides whether to approve the Settlement.
     The Court in charge of this case is the United States District Court for the Central District of California (the “Court”),
     and the case is called Schmitt v. Younique LLC, No. 8:17-cv-01397. The individuals who sued are called the Plaintiffs,
     and the company they sued, Younique, LLC (“Younique”), is called the Defendant.

2.   What is this lawsuit about?
     The lawsuit alleges Younique’s original Moodstruck 3D Fiber Lashes (sold between October 2012 and July 2015) was
     not accurately labeled as being made of “100% Natural Green Tea Fibers.” The Defendant disagrees with the allegations
     and says the label was accurate and denies any wrongdoing, but has agreed to the Settlement to avoid the expense and
     uncertainties associated with continuing the case. The Defendant denies any and all wrongdoing of any kind whatsoever,
     and denies any liability to Plaintiffs and to the Settlement Class.

3.   Why is this a class action?
     In a class action, one or more people, called “Class Representatives,” sue on behalf of people who have similar claims.
     All these people are in a “class” or “class members,” except for those who exclude themselves from the class. United
     States District Court Judge James V. Selna in the United States District Court for the Central District of California is in
     charge of this class action.

4.   Why is there a Settlement?
     The Defendant is not admitting that it did anything wrong and both sides want to avoid the cost of further litigation. The
     Court has not decided in favor of the Plaintiffs or the Defendant. The Class Representatives and their attorneys think
     the Settlement is best for Class Members. The Settlement provides the opportunity for Settlement Class Members to
     receive Settlement benefits.


                                          WHO IS IN THE SETTLEMENT?
5.   How do I know if I am in the Settlement?
       The Settlement Class includes all persons and entities who, from October 2012 to July 2015 both resided in California,
       Ohio, Florida, Michigan, Minnesota, Missouri, New Jersey, Pennsylvania, Tennessee, Texas, or Washington and
       purchased Younique’s original Moodstruck 3D Fiber Lashes for personal, family or household use and not for resale.
       Excluded from the Settlement Class are: (a) Defendant’s board members or executive-level officers, including its
       attorneys; (b) governmental entities; (c) the Court, the Court’s immediate family, and the Court staff; and (d) any
       person that timely and properly excludes himself or herself from the Settlement Class in accordance with the
       procedures approved by the Court.

6.   Which Products are included in the Settlement?
     The eligible product in the Settlement is Younique’s original Moodstruck 3D Fiber Lashes which was sold between
     October 2012 and July 2015.

7.   What if I am still not sure if I am included in the Settlement?
     If you are not sure whether you are a Settlement Class Member, or have any other questions about the Settlement
     Agreement, you should visit the Settlement Website, www.FiberLashesSettlement.com, or call the toll-free number,
     [insert toll-free number].




                                               SETTLEMENT BENEFITS
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8.    What does the Settlement provide?
      The Settlement provides for the establishment of a Settlement Fund with a value of $3,250,000.00 to pay (1) timely and
      valid claims of eligible Settlement Class Members; (2) the costs of Class Notice and administration; (3) Attorneys’ Fees
      and Expenses awarded by the Court; (4) any Service Award made by the Court to Plaintiffs; and (5) any taxes and tax
      expense (if any). Settlement Class Members who timely submit valid Claim Forms are entitled to receive a cash payment
      from the Settlement Fund. The actual amount recovered by each Settlement Class Member will not be determined until
      after the Claim Period has ended and all Claims have been calculated.

      Under the Settlement, the parties agreed to a definition of “natural”, consistent with federal regulatory standards, to be
      applied to fiber lash products, and a protocol for testing fiber lash products according to that definition on 6-month
      intervals when the ingredients of a fiber lash product are described as “natural”

9.    What can I get from the Settlement?
      If you submit a valid Claim Form by the deadline, you can get a payment from the Settlement Fund. After subtracting
      from the Settlement Fund the Service Awards for the Class Representatives, Attorneys’ Fees and Expenses, and the costs
      of Class Notice and administration, taxes and tax expense (if any), the Settlement Administrator will determine each
      authorized Settlement Class Member’s pro rata share based upon the number of Products purchased by each class
      member and the total amount of valid claims is submitted.

10.   What am I giving up to stay in the Class?
      Unless you exclude yourself from the Settlement, you cannot sue the Defendant, continue to sue, or be part of any other
      lawsuit against the Defendant about the legal issues in this case. It also means that all of the decisions by the Court will
      bind you. The Release is described more fully in the Settlement Agreement and describes exactly the legal claims that
      you give up if you stay in the Settlement Class. The Settlement Agreement is available at the Settlement Website, www.
      FiberLashesSettlement.com.


                                               HOW TO GET A PAYMENT
11.   How can I get a payment?
      To be eligible to receive a payment from the Settlement, you must complete and submit a timely Claim Form. You can
      complete and submit your Claim Form online at the Settlement Website, www. FiberLashesSettlement.com. The Claim
      Form can be downloaded from the Settlement Website, as well. You can request a Claim Form be sent to you by sending
      a written request to the Settlement Administrator by mail or email, or by calling toll-free.

      MAIL:     ______________

      EMAIL: __________________

      PHONE: [insert toll-free number]
      Please read the instructions carefully, fill out the Claim Form, and mail it postmarked no later than [90 days following
      Notice] to: Schmitt v Younique LLC, c/o Settlement Administrator, PO Box #####, Philadelphia, PA #####-####, or
      submit your Claim Form online at the Settlement Website, www.FiberLashesSettlement.com, by [90 days following
      Notice].

      If you do not submit a valid Claim Form by the deadline, you will not receive a payment.

12.   When will I get my payment?
      Payments will be mailed to Settlement Class Members who send in valid and timely Claim Forms after the Court grants
      “final approval” to the Settlement and after any and all appeals are resolved. If the Court approves the Settlement after
      a hearing on XXXX, 2019, there may be appeals. It’s always uncertain whether these appeals can be resolved, and
      resolving them can take time.
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                               EXCLUDING YOURSELF FROM THE SETTLEMENT
      If you don’t want a payment from the Settlement Fund, and you want to keep the right to sue or continue to sue the
      Defendant on your own about the legal issues in this case, then you must take steps to get out. This is called excluding
      yourself—or it is sometimes referred to as “opting out” of the Settlement Class.

13.   How do I get out of the Settlement?
      To exclude yourself (or “Opt-Out”) from the Settlement, you must complete and mail by U.S. Mail to the Settlement
      Administrator a written request that includes the following:
      •          Your name and address;
      •          The name of the case: Schmitt v. Younique LLC, No. 8:17-cv-01397;
      •          A statement that you want to be excluded from this Settlement; and
      •          Your signature.
      You must mail your exclusion request, postmarked no later than XXXX, 2019 to:
                                           Schmitt v Younique LLC Settlement
                                              c/o Settlement Administrator
                                                     PO Box #####
                                              Philadelphia, PA #####-####
      If you don’t include the required information or submit your request for exclusion on time, you will remain a Settlement
      Class Member and will not be able to sue the Defendant about the claims in this lawsuit.

14.   If I don’t exclude myself, can I sue the Defendant for the same thing later?
      No. Unless you exclude yourself, you give up any right to sue the Defendant for the claims that this Settlement resolves.
      If you have a pending lawsuit, speak to your lawyer in that lawsuit immediately. You must exclude yourself from this
      Settlement Class to continue your own lawsuit.

15.   If I exclude myself, can I still get a payment?
      No. You will not get any money from the Settlement if you exclude yourself. If you exclude yourself from the
      Settlement, do not send in a Claim Form asking for benefits.


                                          OBJECTING TO THE SETTLEMENT
16.   How can I tell the Court if I do not like the Settlement?
      If you are a Class Member, you can object to the Settlement or to Class Counsel’s request for Attorneys’ Fees and
      Expenses. To object, you must send a letter that includes the following:
      •          Your name, address, telephone number, and, if available, email address;
      •           The name, address, email address, and telephone number of your lawyer, if you have one, including any
          former or current counsel who may be entitled to compensation for any reason related to the objection;
      •          The name of the case: Objection to Class Settlement in Schmitt v. Younique LLC, No. 8:17-cv-01397;
      •          The reasons you object to the Settlement, accompanied by any legal support for your objection;
      •          A statement of whether you intend to appear at the Fairness Hearing, either with or without counsel;
      •          A statement of your membership in the Settlement Class, including all information required by the Claim
                 Form;
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      •
                  A detailed list of any other objections submitted by you or your counsel, to any class actions submitted in
                  any court, whether state or otherwise, in the United States in the previous five (5) years, or a statement that
                  you have not objected to any class action settlement in any court in the United States in the previous five (5)
                  years; and
      •         Your signature and, if you have one, your lawyer’s signature.

      Your objection, along with any supporting material you wish to submit, must be filed with the Court, with a copy
      delivered to Class Counsel and Defendant’s Counsel no later than XXXXX, 2019 at the following addresses:




                                          Court                               Class Counsel
                        The United States District Court for the     Adam Gonnelli
                        Central District of California               Sultzer Law Group
                        Ronald Reagan Federal Building and           85 Civic Center Plaza
                        United States Courthouse                     Suite 200,
                        411 West 4th Street                          Poughkeepsie, NY, 12601
                        Santa Ana, CA 92701-4516
                                    Defense Counsel                            Class Counsel
                        Sascha Henry                                 Jonathan Miller
                        Sheppard, Mullin, Richter & Hampton          Nye Stirling Hale & Miller, LLP
                        LLP                                          33 West Mission St., Suite 201
                        333 South Hope Street                        Santa Barbara, CA 93101
                        Forty-Third Floor
                        Los Angeles, CA 90071
                                                                              Class Counsel
                                                                     Bonner Walsh
                                                                     Walsh PLLC
                                                                     1561 Long Haul Road
                                                                     Grangeville, ID 83530


                                                                              Class Counsel
                                                                     Todd D. Carpenter (CA 234464)
                                                                     Carlson Lynch Sweet Kilpela &
                                                                     Carpenter, LLP
                                                                     1350 Columbia Street, Ste. 603
                                                                     San Diego, CA 92101


17.   What is the difference between objecting and excluding?
      Objecting is simply telling the Court that you don’t like something about the Settlement. You can object to the Settlement
      only if you do not exclude yourself from the Settlement. Excluding yourself from the Settlement is telling the Court that
      you don’t want to be part of the Settlement. If you exclude yourself from the Settlement, you have no basis to object to
      the Settlement because it no longer affects you.

                                       THE LAWYERS REPRESENTING YOU

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18.   Do I have a lawyer in this case?
      Yes. The Court has appointed lawyers and firms as “Class Counsel,” meaning that they were appointed to represent all
      Class Members: Adam Gonnelli of The Sultzer Law Group, Jonathan Miller of Nye Stirling Hale & Miller, LLP, Bonner
      Walsh of Walsh PLLC, and Todd Carpenter of Carlson Lynch Sweet Kilpela & Carpenter, LLP.

      You will not be charged for these lawyers, they will be paid out of the Settlement Fund. If you want to be represented by your
      own lawyer, you may hire one at your own expense.

19.   How will the lawyers be paid?
      Class Counsel intends to file a motion on or before XXXX, 2019 seeking Attorneys’ Fees in the amount of $1,083,225.00
      and Expenses in the amount of $175,000.00. The fees and expenses awarded by the Court will be paid from the
      Settlement Fund. The Court will determine the amount of fees and expenses to award. Class Counsel will also request
      that $67,500 be paid from the Settlement Fund as Service Awards to the named Plaintiffs who helped the lawyers on
      behalf of the whole Class.


                                          THE COURT’S FAIRNESS HEARING
20.   When and where will the Court decide whether to approve the Settlement?
      The Court will hold a Fairness Hearing on XXXX, 2019 at [time] at the United States District Court for the Central
      District of California, before the Honorable James V. Selna, United States District Judge, in Courtroom 10C, in the
      Ronald Reagan Federal Building and United States Courthouse, 411 West 4th Street, Santa Ana, CA 92701-4516.

      The hearing may be moved to a different date or time without additional notice, so it is a good idea to check
      www.FiberLashesSettlement.com for updates. At the Fairness Hearing, the Court will consider whether the Settlement
      Agreement is fair, reasonable, and adequate. The Court will also consider how much to pay Class Counsel and the Class
      Representatives. If there are objections, the Court will consider them at this time. After the hearing, the Court will
      decide whether to approve the Settlement. We do not know how long these decisions will take.

21.   Do I have to come to the hearing?
      No. Class Counsel will answer any questions that the Court may have. But, you may come at your own expense. If you
      send an objection, you don’t have to come to Court to talk about it. As long as you mailed your written objection on
      time to the proper addresses, the Court will consider it. You may also pay your own lawyer to attend, but it’s not
      necessary.

22.   May I speak at the hearing?
      Yes. You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must send a letter saying
      that it is your “Notice of Intent to Appear.” In your letter, you must include the following:
      •          Your name, address, telephone number, and, if available, email address;
      •           The name, address, email address, and telephone number of any lawyer(s) who will be appearing on your
          behalf at the Fairness Hearing;
      •          The name of the case: Schmitt v. Younique LLC, No. 8:17-cv-01397; and
      •          Your signature and, if you have one, your lawyer’s signature.
      Your Notice of Intent to Appear must be filed with the Court no later than XXXXX, 2019.


                                                    IF YOU DO NOTHING

23.   What happens if I do nothing at all?
      If you do nothing, you will not get a payment from the Settlement. Unless you exclude yourself, you won’t be able to start
      a lawsuit, continue with a lawsuit, or be part of any other lawsuit against the Defendant about the legal issues in this case,
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      ever again.

                                         GETTING MORE INFORMATION

24.   How do I get more information?
      This Notice summarizes the proposed Settlement. More details are in the Settlement Agreement. You can review a
      complete copy of Settlement Agreement and other information at the Settlement Website, www.
      FiberLashesSettlement.com. If you have additional questions or want to request a Claim Form, you can visit the
      Settlement Website, www.FiberLashesSettlement.com. You can also write to the Settlement Administrator by mail, or
      call toll-free at:

                                        Schmitt v Younique LLC Settlement
                                           c/o Settlement Administrator
                                                   PO Box #####
                                           Philadelphia, PA #####-####
                                                  1-8##-###-####

      Updates will be posted at www.FiberLashesSettlement.com as information about the Settlement process becomes
      available.

       PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE CONCERNING THIS CASE




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                                 EXHIBIT E




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 POSTCARD NOTICE
 Front of Postcard


 SETTLEMENT ADMINISTRATOR ADDRESS



          LEGAL NOTICE
        If You Purchased
       Younique’s Original
       Moodstruck 3D Fiber
     Lashes between October
     2012 and July 2015, You
    May Be Eligible to Receive
    Money From a Class Action
            Settlement




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 Barcode
 Class Member ID


 Class Member Name and Address




 Back of Postcard Text
 FROM THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 DISTRICT OF CALIFORNIA
 Para revisar una versión en español de este aviso, visite
 www.FiberLashesSettlement.com
 If you purchased Younique’s original Moodstruck 3D Fiber Lashes between
 October 2012 and July 2015 and You Lived in in California, Ohio, Florida,
 Michigan, Minnesota, Missouri, New Jersey, Pennsylvania, Tennessee, Texas,
 or Washington at Time of Purchase You May Be Entitled to Receive Money
 From A Class Action Settlement
     • A settlement has been reached in a class action lawsuit in which plaintiffs
       have alleged that the fiber component of Younique’s original Moodstruck
       3D Fiber Lashes (sold between October 2012 and July 2015) was not
       accurately labeled as being made of “100% Natural Green Tea Fibers.”
       Younique disagrees and says the label in question was accurate, denies any
       wrongdoing, but has agreed to the Settlement to avoid the expense and
       uncertainties associated with continuing the case. The Court has not decided
       which side is right.
     • Your rights are affected so please read the notice carefully.


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     • The only way to receive a benefit is to file a claim. To submit a claim, visit
       www.FiberLashesSettlement.com and use the ID number on the front of this
       postcard. You must file a claim by [Date and Time]
     • You may get out of the Settlement, exclude yourself, you will keep your
       right to sue Younique about the claims in this case, but you will not receive
       anything from the settlement. To exclude yourself, you must send a letter to
       _______ stating clearly that you wish to exclude yourself.
     • You can also object to or comment upon the settlement. You must submit
       your objection or comment by sending it to Schmitt v Younique LLC
       Settlement, c/o Settlement Administrator, PO Box #####, Philadelphia, PA
       #####-####. The deadline to exclude yourself or object to the settlement is
       [Date and Time] Please visit www.FiberLashesSettlement.comfor more
       details and instructions. If you want to be represented by your own lawyer,
       you may hire one at your own expense.
     • A hearing will be held on [date, time and location]. The purpose of the
       hearing is to decide if the Court should grant final approval of the proposed
       Settlement and/or award attorneys’ fees of $1,083,225.00, expenses of up to
       $175,000.00 and service awards totaling $67,500.00. You may attend this
       hearing, but you do not have to. The motion for Attorneys’ fees will be
       posted on the website after they are filed.
     • For more information, including the full Notice, Claim Form, and a copy of
       the Settlement Agreement and other court documents, go to
       www.FiberLashesSettlement.com, call the Settlement Administrator at
       ______ or write to Schmitt v Younique LLC Settlement, c/o Settlement
       Administrator, PO Box #####, Philadelphia, PA #####-####, or call Class
       Counsel at ________. Para revisar una versión en español de este aviso,
       visite www.FiberLashesSettlement.com
 A Federal Court authorized this notice. This is not a solicitation from a lawyer.




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                                 EXHIBIT F
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                                 EXHIBIT G




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               Script for Fielding Calls Regarding the Class Action Settlement Notice

 1. Introduction

 Thank you for taking the time to call and inquire about the notice.

 Did you receive an official notice of the litigation and settlement?

 Did you purchase the original 3D Fiberlash product sometime between Jan. 2013 and July 2015
 while residing in one of the following states?
 States: CA, OH, FL, MI, MN, MS, NJ, PA, TN, TX, WA

 [If yes to either question, proceed to the following questions/statements.]

 Unfortunately, because this is on-going litigation, the company is not free to comment on it.
 You are welcome to contact the claims administrator with any questions. The claims
 administrator can be reached through the website www.FiberLashesSettlement.com.

 2. Questions About The Product At Issue

 The lawsuit relates only to the original 3D Fiber Lash product, which we have not sold since July
 2015.

 You are welcome to contact the claims administrator with any questions. The lawsuit does not
 relate to the 3D Fiber Lash + product, the EPIC Mascara product, or our new 4D Lash product.
 The claims administrator can be reached through the website www. FiberLashesSettlement.com.

 3. Questions About The Allegations

 The plaintiffs have alleged that that the fiber component of Younique’s original Moodstruck 3D
 Fiber Lashes (sold between October 2012 and July 2015) was not accurately labeled as being
 made of “100% Natural Green Tea Fibers”.

 Younique contends the label was accurate, denies any wrongdoing and denies the plaintiffs’
 allegations.

 Younique has agreed to the Settlement to avoid the expense and uncertainties associated with
 continuing the case.

 The Court has not decided which side is right.

 There are no allegations in this lawsuit that anyone was injured by the product.

 This is not a product recall.

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 You are welcome to contact the claims administrator with any questions. The lawsuit does not
 relate to the 3D Fiber Lash + product, the EPIC Mascara product, or our new 4D Lash product.
 The claims administrator can be reached through the website www.FiberLashesSettlement.com.

 4. Questions About The Settlement

 You are welcome to contact the claims administrator with any questions. The lawsuit does not
 relate to the 3D Fiber Lash + product, the EPIC Mascara product, or our new 4D Lash product.
 The claims administrator can be reached through the website www.FiberLashesSettlement.com.




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